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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

         v.                                         Criminal No. GLR 20-337

STEPHEN L. SNYDER,

                  Defendant


         UNITED STATES’ OMNIBUS OPPOSITION TO DEFENDANT’S
             MOTIONS TO DISMISS AND RELATED MOTIONS

    The United States of America, by its undersigned counsel, submit this Opposition to:

    (1) First Motion of Stephen L. Snyder, Defendant, to Dismiss Indictment with Prejudice,

       ECF. No. 52;

    (2) Second Motion of Stephen L. Snyder, Defendant, to Dismiss Indictment with

       Prejudice, ECF No. 53;

    (3) Summary of the Defendant’s Motion to Dismiss with Prejudice, and Statement of

       Reasons for Prompt Hearing Thereon, Pursuant to the Court’s Direction at the January

       5, 2021, Conference, ECF. No. 54; and

    (4) Motion of Stephen L. Snyder, Defendant, to Compel Government to Produce Brady

       Information, ECF No. 69.
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         I.       INTRODUCTION

         The Defendant’s litigation strategy in this case, including his most recent motions, brings

to mind the quote from Carl Sandburg: “If the facts are against you, argue the law. If the law is

against you, argue the facts. If the law and the facts are against you, pound the table and yell like

hell.”           https://www.brennancenter.org/our-work/analysis-opinion/when-shouting-replaces-

substance. And what the Defendant keeps yelling is prosecutorial misconduct.



                                               And now he has done it in not one but two motions




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to dismiss the Indictment. He has done it in every substantive piece of litigation in this case and

in practically every filing. He has even hired three different “experts,” to attack the Government,

reflecting the even more familiar adage that you get what you pay for.

       To be clear, the Government has acted honorably and professionally in its investigation

and prosecution of this case. The Defendant’s ability to dream up accusations of misconduct is

not a substitute for the law or the facts, neither of which support his motions to dismiss or his

Brady motion.

       All three motions should be denied.

       In his first Motion to Dismiss, Snyder argues that the Government “destroyed” evidence.

The evidence he claims the Government destroyed, however, never existed. And even if it did, it

would not have exonerated Snyder. Specifically, the Defendant claims that Andrew Graham, an

attorney in private practice, could have completely exonerated Snyder if he had met with

representatives of UMMS in September 2018, more than eight months after Snyder’s extortion

attempts began. Simply put, unless Mr. Graham was bringing a time machine to this meeting in

September 2018, nothing he could have said at that time would have “exonerated” Snyder. Snyder

had already committed the crime.

       In his second Motion to Dismiss, Snyder contends that the Government “corrupted” the

Indictment, an argument that is as incomprehensible as it is wrong, because the Government failed

to include recorded statements made by Snyder that he argues are favorable to him. Mem. in

Support of Sec. Mot. to Dismiss at 1. He also accuses the Government of presenting a “falsified”

version of the recording because of the use of various introductory and transition words and

ellipses in the Indictment. These arguments fail because they ignore the purpose of an indictment

which is to put Snyder on notice of the charges against him and because the Government did not



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misrepresent, in any way, the recording summarized and at times quoted in the factual allegations

contained in the Indictment. As his motions themselves demonstrate, Snyder fully understands

the charges against him and he was not misled – he has every audio recording cited in the

Indictment. Further, any dismissal of an indictment based on the use of transition words and

ellipses would be unprecedented and contrary to the law.

       Also in his second motion to dismiss, Snyder contends that he did not “wrongfully” attempt

to obtain $25 million from UMMS because the $25 million demand had a “nexus” to M.S.’s

medical malpractice claim, in other words, that his conduct is covered by the litigation exemption

to extortion charges. However, as the facts at trial will show, Snyder said the opposite during his

June and August 2018 meetings with UMMS. He repeatedly stated that the consultancy was

separate from M.S.’s medical malpractice claim, and that M.S.’s case “wasn’t worth that much.”

And his reliance on the Michael Avenatti case is telling, as Avenatti recently received a two-and-

a-half year sentence for doing exactly what Snyder did.

       As for Snyder’s Brady Motion, the Government has complied with its Brady obligations.

Snyder’s entire Brady argument is predicated on the erroneous assertion that the Government

committed misconduct. Since that argument is meritless, his claims for information related to that

misconduct, which he calls Brady material even though it is not, are similarly meritless. Finally,

his assertion that a prosecutor’s opinions are Brady would transform every negative thought a

prosecutor had about a case into a disclosable event. For that reason no court has ever endorsed

his position and nor should this one.




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       II.     PROCEDURAL AND FACTUAL BACKGROUND

       On October 5, 2020, the Grand Jury for the District of Maryland indicted Stephen L. Snyder

(“Snyder”) for attempted extortion, in violation of 18 U.S.C. §§ 1951 and 1952. See United States

v. Snyder, 1:20-cr-00337-GLR, ECF No. 1 (hereafter “Indictment”).

       The charges stemmed from Snyder’s attempt to extort $25 million from the University of

Maryland Medical System (“UMMS”) disguised as a sham consulting arrangement. Specifically,

from January 2018 to August 2018, Snyder threatened to launch a negative publicity campaign

falsely accusing UMMS of transplanting diseased organs into unsuspecting poor and

unsophisticated patients to generate revenue for UMMS unless UMMS paid Snyder $25 million.

Snyder claimed to have arranged for The Baltimore Sun to run a front-page story on his invented

scandal and threatened to hold a press conference and run internet advertising repeating his false

accusations. Snyder even went so far as to produce two television commercials that repeated his

false claims, one of which was made to look like a public service announcement. While the

extortionate threats arose in the context of potential claims by two clients Snyder represented who

had received transplants at UMMS, Snyder repeatedly made clear that the $25 million payment

was for him personally, separate and apart from any settlement with his clients. And Snyder

specifically asked that the payment to him be disguised as a sham consulting arrangement.

       UMMS concluded that the $25 million demand was extortionate. UMMS retained Gregg

L. Bernstein and John J. Connolly of Zuckerman Spaeder LLP as outside counsel to advise them

on UMMS’s ethical and legal obligations. UMMS, on the advice of Gregg Bernstein, decided to

bring the matter to the attention of law enforcement. The Federal Bureau of Investigation (“FBI”),

without Snyder’s knowledge, recorded several telephone calls between Snyder and a




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representative of UMMS and others related to Snyder and recorded an August 23, 2018, meeting

between Snyder and representatives of UMMS.

               The Federal Indictment Alleged that Snyder Made Extortionate Demands to
               UMMS through Its Representatives and Kinter and Bartlett Personally

       In April 2017, L.B. retained Snyder to represent her in a medical malpractice claim against

UMMS for injuries she sustained after undergoing a pancreatic transplant at UMMC. See

Indictment ¶ 11. In April 2018, a husband and wife, M.S. and J.S., retained Snyder to represent

them in a malpractice claim against UMMS stemming from J.S.’s injuries following a kidney

transplant at UMMC. Id. ¶ 21. J.S. later died from his injuries. Id.

               1. Snyder Asked to Speak with Dr. Bartlett in the Hallway for a Private
                  Conversation

       On January 21, 2018, Snyder and a lawyer representing UMMS, Sue Kinter (“Kinter”),2

met for a settlement conference in L.B.’s case. Id. ¶ 18. Stephen Bartlett, M.D. (“Dr. Bartlett”),

the Chief Medical Officer for UMMS, attended the conference. Id. ¶¶ 5, 18. During the settlement

conference, Snyder asked Dr. Bartlett to step into the hallway for a private conversation. Id. ¶ 18.

During that conversation, Snyder told Dr. Bartlett that Snyder had another client or clients who

wanted to file suit against UMMS over allegations relating to kidney transplants. Id. Snyder told

Dr. Bartlett that UMMS had better settle L.B.’s claim for the amount Snyder was requesting or

Snyder would file suit in other cases involving kidney transplants. Id. Snyder told Dr. Bartlett that

Dr. Bartlett seemed like a “nice guy” and that he “did not want to do that” to Dr. Bartlett. Id.

               2. Snyder Meets with Dr. Bartlett on March 21, 2018

       On March 21, 2018, Snyder and his fiancée and Dr. Bartlett and his wife met for dinner at

the Capital Grille in Baltimore. Id. ¶ 21. When both couples arrived, Snyder and Dr. Bartlett met


       2
         Kinter worked for the Maryland Medicine Comprehensive Insurance Program, which
insures UMMS, and she acts as in-house counsel for UMMS. See id. ¶ 8.
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privately at the bar. Id. ¶ 22. The maître d’ delivered a file to Snyder. Id. It contained photographs

of J.S. among other documents. Id. Snyder told Dr. Bartlett that he planned to a make a video that

was “really bad.” Id. Snyder repeated several times that he felt “bad” because he and Dr. Bartlett

“were friends” and that the transplant program at UMMC would be “destroyed” unless Dr. Bartlett

helped Snyder obtain $25 million. Id. Snyder told Dr. Bartlett that he wanted to become an

employee of UMMS in order to obtain the $25 million. Id. Snyder told Dr. Bartlett that if Dr.

Bartlett helped him obtain $25 million, Snyder would not use the video but that if Dr. Bartlett did

not help him the video “could do a lot of damage” to UMMS and to Dr. Bartlett personally. Id.

       Later during dinner, Snyder told Dr. Bartlett’s wife, “as long as your husband does what

he is supposed to do, he will be okay.” Id. ¶ 23. Snyder repeated this phrase as many as ten times.

Id. ¶ 23. Dr. Bartlett tried to redirect the conversation, however, no matter what topic he and his

wife tried to introduce, Snyder would return to his warning that “we are going to be friends as long

as [Dr. Bartlett] takes care of this,” and “everything is going to be okay as long as [Dr. Bartlett]

does what [he] needs to do” and “this all depends on [Dr. Bartlett] and what he does.” Id. ¶ 23.

               3. April 30, 2018, Snyder Meets with UMMS Representatives

       On the morning of April 30, 2018, Snyder delivered a demand letter to Kinter seeking $25

million on behalf of M.S. shortly before a settlement conference scheduled for that day. Id. ¶ 25.

During the settlement conference, Snyder told the UMMS representatives that the M.S. case

created significant reputation issues for UMMS. Id. ¶ 26. Snyder said that it would take $25 million

to silence Snyder about what he had developed in his investigation into UMMS’s transplant

program. Id. Snyder claimed that he liked Dr. Bartlett but that he could do a great deal of damage

to his reputation. Id. ¶ 27. Snyder claimed that UMMS convinced unsophisticated and uneducated

patients in need of a transplant into accepting diseased kidneys. Id. ¶ 28.



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       Snyder told the UMMS representatives that he had already confirmed that The Baltimore

Sun would write a front-page article about organ donor fraud and that vulnerable and

unsophisticated people were receiving diseased organs at UMMS. Id. ¶ 30. Snyder told the UMMS

representatives that he also planned to give a press conference and that the resulting publicity

would be devastating for the hospital. Id. ¶ 31.

       Snyder then played a commercial he had developed and intended to air if his demands were

not met. Id. ¶ 32. It stated that UMMS did not tell patients that organs UMMS transplanted were

bad organs or that they accepted organs that other institutions rejected. Id. The commercial said

that J.S. was told by the surgeon that transplanted his kidney that the surgeon would have

transplanted the same organ into his wife but wasn’t told that 250 institutions had rejected the same

kidney. Id. The video showed images of J.S. with necrotic fingertips and an amputated leg. Id.

       Snyder told the UMMS representatives that he would launch advertisements for his firm

directed at transplant recipients if a deal was not struck and that he would attach an “Internet bomb”

to anyone looking at UMMS’s transplant site which would cause an ad for Snyder’s law firm to

come up on the viewer’s Internet stream if the viewer looked at UMMS’s site. Id. ¶ 33.

       Snyder concluded the meeting by saying that he wanted to resolve the case but that UMMS

needed to pay him $25 million. Snyder said he did not want to hurt the hospital or Dr. Bartlett but

that he would do so if a deal was not struck. Id. ¶ 34.

               4. June 22, 2018, Snyder Meets with UMMS Representatives

       On June 22, 2018, Snyder again met with representatives of UMMS, including Kinter and

UMMS’s outside counsel, Natalie Magdeburger (“Magdeburger”). Id. ¶ 35. Snyder began by

stating that he had found new information which made him want to increase his demand to $50

million. Id. ¶ 36. Snyder asked the UMMS representatives whether they were aware of the “Baylor

case” referring to Baylor St. Luke’s Medical Center, a hospital affiliated with the Baylor College
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of Medicine, and the effects the allegations made against their transplant program had on Baylor.

Id. Snyder told the UMMS representatives that Baylor almost went out of business. Id. Snyder also

told Kinter that she would lose her job if Snyder went forward with his allegations against the

transplant program. Id. ¶ 37.

       Snyder said that UMMS would have to enter into an agreement with him separate from

M.S.’s case. Id. ¶ 39. Specifically, Snyder told the UMMS representatives that he wanted to enter

into a consulting agreement with UMMS so that Snyder would be “conflicted out” of any future

case. Id. Snyder told the UMMS representatives that they should settle the M.S. case for whatever

that case was worth and then pay Snyder $25 million to act as a consultant. Id. Kinter told Snyder

that she thought the $25 million was the demand for the J.S. / M.S. case. Id. ¶ 40. Snyder said that

M.S. does not “deserve” that much money for her case. Id. Snyder stated that the $25 million was

for him. Id.

       Snyder told the UMMS representatives that Dr. Bartlett was in a “shit load” of trouble and

that Snyder did not want to hurt him. Id. ¶ 43. Kinter told Snyder that his comments were making

her very uncomfortable and that she felt like she was being threatened. Id. ¶ 45. Kinter told Snyder

it sounded like he wanted to destroy the UMMS transplant program. Id. Snyder responded that he

did not want to destroy the program but that if UMMS called his bluff, he would do what he needed

to do because he was a plaintiffs’ lawyer and that is what he does. Id.

       Snyder then asked his associate, who was with him at the meeting, to play a new video

Snyder had prepared and that Snyder said he would distribute if UMMS did not pay Snyder $25

million. Id. ¶ 47. Snyder said he was the “king of taking crazy statements people say and twisting

them around” and that the video had statements in it made by members of the transplant

department. Id.



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       Kinter asked Snyder why he wanted $25 million and Snyder said, “because that is what

you have to pay me” and that it could have been “$100 million.” Id. ¶ 48. Magdeburger asked

Snyder what he thought he could do to earn a $25 million consulting fee. Id. ¶ 50. Snyder

responded, “I could be the janitor.” Id. Snyder said it would be a tragedy if UMMS did not pay.

Id. ¶ 51. Snyder said that Kinter would get fired and the hospital would say “how the fuck did you

let this happen” and told the UMMS representatives they were playing with fire with his client. Id.

       Snyder then played the new video. Id. ¶ 52. It started with the words, in red, “PUBLIC

SERVICE ANNOUNCEMENT” as well as an alert sound associated with emergency alerts. Id. It

then showed a text message that Dr. Bartlett had sent Snyder on April 10, 2018, that read: “Sue

and I just spoke. She understands on hook for fraud and punitive damages. Ball is in your court.”

Id. The video then showed pictures of several doctors which the video claimed had left UMMS or

had been demoted and were no longer performing surgery. Id. Dr. Bartlett was pictured with the

words: “DEMOTED NO LONGER DOING SURGERY – relegated to executive work.” Id.

       Snyder told the UMMS representatives that if they said no to his demand for a $25 million

payment separate from any payment to M.S. then he would hold a press conference, get an article

placed on the front page of The Baltimore Sun, solicit interest in national articles, distribute

commercials and launch a campaign on Google and Facebook as well as advertise on the Internet.

Id. ¶ 54. Snyder claimed there were “devastating” e-mails from the Nephrology Department that

confirmed they did not like high-risk kidneys and questioned why UMMS was using them. Snyder

told the UMMS representatives the only way to keep the e-mails from the public would be to pay

Snyder $25 million. Id. ¶ 55.

               5. August 23, 2018, Snyder Meets with UMMS Representatives

       On August 23, 2018, Snyder met with UMMS representatives including Kinter,

Magdeburger, and Dr. DePriest Whye, Jr. (“Dr. Whye”), who was the head of MMCIP. Id. ¶ 56.
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Ironically, Snyder began by asking if the meeting was being recorded. Id. ¶ 57. This meeting was

recorded by the FBI without Snyder’s knowledge. Snyder repeated his demands from the June 22,

2018 meeting:

       You hire my firm as a consultant. You hire me to do certain set-out things, to keep
       the hospital on the straight and narrow, to be involved with the Transplant
       Department as much as necessary. The – the effect of that would be, is that I’m
       doing work for the hospital, okay? If, in the event something arises in the future,
       related to the Transplant Department, well, I would be conflict—conflicted out, by
       way of implication. You – you – you follow that? . . .

       Id. ¶ 58. Dr. Whye asked Snyder, “So what specifically would you be doing?” Id. ¶ 59.

Snyder responded, “Well, who knows? . . .” Id. ¶ 60. Snyder then continued:

               … but what happened was, when we investigated [the M.S.] case, we found
       a shitload of – of information of what’s going on in this department; and that’s
       really different, from her case. In other words, if I’m going to – and I – I get cases
       against University of Maryland all the time. I mean Let’s – let’s not be – let’s be
       clear on that. I’m, by this agreement, I’m conflicting myself out of future cases,
       again – you know, against this department; not only me, but my sons as well, and
       that’s – that’s not a small thing. . .

Id. ¶ 61. Kinter responded, “I guess what it looks like is this consulting agreement on paper, right?”

to which Snyder responded, “Correct.” Id. ¶ 62. Kinter then asked, “And then, in your mind,

whether you do work or whether you don’t do work is to be determined, I guess, or,” to which

Snyder responded, “Yeah, I don’t care if I don’t do anything. It’s up to – I don’t care at all.” Id.

¶ 63. Dr. Whye asked Snyder why what he was saying wasn’t extortion. Id. ¶ 65. Snyder

responded:

             That's fine. May I – may I answer that? Yeah, ju - just so you're clear, I – I
       wanted to make sure it is not perceived as extortion.

               I mean, I have a set of facts, I mean, in every case that I have, you're - I'm
       saying to you - or to - to Sue, you have to pay X, Y, Z - X, or the case is going
       forward and you're gonna be exposed. That's every single case - uh, you know, a -
       a set of facts.




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                 So, is that extortion, that a lawyer has a case and he's saying, uh, you know
        –


Id. ¶ 66. Dr. Whye then interrupted Snyder, “But you’re asking for 25 million,” to which Snyder

responded:

                 Well, because there’s a different component to this. The – the component is
        that there are facts independent of her case, that came out of her case through
        investigation, that relate to the hospital generally. And you’re getting an agreement
        where I’m allegedly doing some form of work for you. Uh, it’s not extortion.
        Because the – the – the – the – I’m not using any facts that aren’t-or, excuse me,
        I’m gonna talk like goofy Giuliani, uh – uh, make – the truth is not the truth. Uh,
        but I’m using things that I’ve developed. So, if – what you’re saying – these are the
        key things, the – how do we do this where it’s not perceived as extortion? Because
        I– again, I – I’m – I’m not gonna– you know, if you – if– if you accuse me of
        extortion, which it’s not, and I’ve fully hired a lawyer to – to look into that, to make
        sure it’s not that, then –


Id. ¶ 67.

        Later in this exchange Snyder posed the following question:

                So – so again, I – I don’t – I understand it’s a unique thing. But – but again,
        you don’t want to shut her up, which is not extortion, and not shut me up. You –
        you want me not to go forward. So, the question is, how do we do it and how is it
        not perceived as extortion? And how is it perceived as in compliance with the rules,
        isn’t that right? Isn’t that what we’re talking about?


Id. ¶ 68. Later still, Kinter asked Snyder:

                The only reason we are where we are at, now, right, having this
        conversation, is because – and you’ll show Dr. Whye the video, is you’ve got in
        your mind damaging things, and that if you didn’t have these damaging things and
        you didn’t have the ability to make an ad and go on TV, you wouldn’t be here today
        talking to us about a consulting agreement…right?–


to which Snyder responded, “Correct.” Id. ¶ 69.




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       Snyder then repeated, “The critical thing is, how do we implement an agreement that

doesn’t let these things surface, that’s not extortion and not– and– and – and – and – and prevents

Steve from handling the cases, that – that’s the key to this.” Id. ¶ 70.

       Snyder then suggested abandoning the pretense of a consulting agreement and instead

paying a lump sum payment to M.S. Snyder said, “pay the 30 million or, you know, 31 million to

[M.S.], as a one-time settlement. I’m not a consultant to the hospital. And I’ll deal with her[.]” Id.

¶ 72. Kinter responded, “but her – her case isn’t worth 30 million dollars,” to which Snyder

responded, “It doesn’t matter whether it’s worth – you get – that’s a solution, to get rid of

everything.” Id. ¶ 73.

       Two days later, in a telephone call on August 25, 2018, Snyder repeated that he had no

expectation that he would do any work for UMMS under the phony consulting arrangement. Id.

¶ 74. Snyder told Kinter in a phone call:

              And you’ll use – and you’ll use me when you want me, if at all. You know,
       when you need me, you know, you’ll call me once a month, or you’ll have lunch
       with me once and month, and you’ll – and you’ll get advice from me. Hopefully,
       nothing will ever surface, no cases or anything. I don’t think they will.

Id.




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       III.    THE COURT SHOULD DENY THE DEFENDANT’S FIRST MOTION TO
               DISMISS BECAUSE THE EVIDENCE HE CLAIMS THE GOVERNMENT
               TAMPERED WITH NEVER EXISTED AND COULDN’T HAVE
               EXONERATED THE DEFENDNAT EVEN IF IT HAD

       In his First Motion to Dismiss, the Defendant asks for the radical relief of dismissal of the

Indictment, with prejudice, because, according to the Defendant,

       … during the investigation of this case, [the Government] manipulated and
       tampered with the evidence for the specific purpose of depriving Snyder of the
       benefit of evidence that would have exonerated him of any potential charge of
       extortion or other wrongdoing and, by its very existence, would have prevented the
       government from bringing the present case.

       First Mot. to Dismiss at 1. How did the Government, according to the Defendant,

“manipulate[] and tamper[] with evidence”? In his 235 pages of filings in support of this claim,

the only act on the part of the Government that the Defendant points to is described in an interview

report by an investigator with the Bar Counsel Office. Here is what the report says:

       The Complainant [Kinter] was asked about her September 5 text message to the
       Respondent [Snyder] in which she stated that she did not need to hear from Andy
       Graham at the planned meeting. The Complainant [Kinter] explained that the
       USAO [U.S. Attorney’s Office] was pushing to have the Respondent appear
       and present before the Board and that they were uncomfortable with Mr.
       Graham attending the meeting because it would be recorded.




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First Motion to Dismiss at ¶ 12. That’s it. So, when one looks at the actual conduct that is the

basis for the Defendant’s motion, his argument is nonsensical. Snyder’s motion centers on an

event that never happened. Evidence can only be “tampered with” and “manipulated” if it exists.

A meeting that didn’t occur isn’t evidence of anything. The motion should be denied on this basis

alone.

                The Government Did Not Destroy or Manipulate Evidence that Never Existed,
                Because It Cannot.

         Snyder cites Supreme Court dicta that states that the bad faith destruction of evidence may

violate the Constitution, but those cases do not apply here because no evidence was destroyed.

Further, in each of the cases, the Court found that the Government had not acted in bad faith and

therefore there was no constitutional violation. In California v. Trombetta, 467 U.S. 479, 485

(1984), the Supreme Court held that the State of California did not have an obligation to preserve

breath samples from a breath testing device that was used to prove intoxication. In Arizona v.

Youngblood, 488 U.S. 51, 57 (1989), the Supreme Court held that the failure to preserve and test

semen samples was, at most, negligent, but did not violate the Constitution. In Illinois v. Fisher,

540 U.S. 544, 547 (2004), the Supreme Court found that there was no due process violation when

cocaine was destroyed by police in accordance with established procedures. Although the

Supreme Court found in favor of the state in each of these cases, Snyder relies on Trombetta,

Youngblood, and Fisher for the proposition that the actions by the Government that arguably

prevented the creation of potentially useful evidence for the defense violates a defendant’s due

process rights. But none of those circumstances are present here.

         First, Snyder attempts to replace phrases like “destruction” and “failure to preserve,” which

is what the authority he cites actually discusses, with phrases like “unavailable evidence” and

“missing evidence” and “destroyed the opportunity” to create evidence, which is what he claims,

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wrongly, occurred here. But no court has ever found that the government subverted a Defendant’s

due process rights, pre-indictment, by failing to create evidence. The law holds the opposite. The

Fourth Circuit and every other circuit that has considered this issue has held that the Government

is not required to create evidence that is helpful to the defense. In Werth v. United States, 493 Fed.

Appx. 361, 366 (4th Cir. 2012), the defendants argued that the government had an obligation to

investigate Giglio-related incidents involving two ATF agents, and turn over the results of that

investigation. Id. at 365-66. The Fourth Circuit stated, “This argument is without merit. While

the government is obligated to disclose favorable evidence in its possession, it is not required to

create evidence that might be helpful to the defense.” Id. at 366. In stating its conclusion, the

Fourth Circuit cited the Seventh Circuit’s decision in United States v. Gray, 648 F.3d 562, 567

(7th Cir. 2011) and the First Circuit’s decision in United States v. Alverio-Melendez, 640 F.3d 412,

424 (1st Cir. 2011), both of which concluded that the government does not have an obligation to

create exculpatory evidence. Id. (citing Gray, 648 F.3d at 567 (“We find the proposed extension

of Brady difficult even to understand. It implies that the state has a duty not merely to disclose

but also to create truthful exculpatory evidence.”); Alverio-Melendez, 640 F.3d at 424 (“The failure

to create exculpatory evidence does not constitute a Brady violation.”)). The Fifth Circuit and

Eighth Circuit have reached the same conclusion. See United States v. Rodarte, 596 F.2d 141,

145-46 (5th Cir. 1979) (the government “is under no duty to ‘seek out’ evidence that would be

helpful to the defense.”); United States v. Riley, 657 F.2d 1377, 1386 (8th Cir. 1981). District

courts in this Circuit have also held that the government has no obligation to seek out exculpatory

evidence. See Estate of Bryant v. Baltimore Police Dep’t, 2020 WL 673571, *22 (D. Md. Feb. 10,

2020); United States v. Ducore, 309 F. Supp. 3d 436, 439 (D. Md. 2018).




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        Second, there is no evidence of bad faith on the part of the government. Snyder theorizes

that the Government cancelled the meeting with Graham to preserve the prosecution against

Snyder. But that argument is directly contradicted by the arguments Snyder makes in his Second

Motion to Dismiss. In his Second Motion to Dismiss, Snyder asserts that prior Government

counsel concluded in 2018, even without the meeting with Graham that never happened, that

“Snyder had not been shown to have committed a prosecutable offense.” Mem. in Support of Sec.

Mot. to Dismiss at 6. Now he claims that in 2018 prior counsel subverted his due process rights

to preserve the prosecution against him. Snyder’s lack of consistency in his own claims of

misconduct shows that they are unmoored from the facts and are, instead, situational empty

rhetoric.

        Finally, none of the remaining cases cited by Snyder support his argument. In Berger v.

United States, 295 U.S. 78 (1935), the Supreme Court found that the prosecutor engaged in

improper questioning and argument at trial. In United States v. Gouveia, 467 U.S. 180 (1984), the

Supreme Court found that holding inmates in administrative detention without counsel while the

government investigated murder charges against the inmates did not violate the Sixth Amendment.

In United States v. Larkin, 978 F.2d 964, 969 (7th Cir. 1992), the Seventh Circuit found that the

government did not violate the Constitution when the defendants’ counsel were not granted access

to a pre-indictment lineup where witnesses identified the defendants as the perpetrators of a bank

robbery. In United States v. Stein, 541 F.3d 130 (2d Cir. 2008), the Second Circuit Court of

Appeals affirmed the dismissal of an indictment when the government forced KPMG to deny the

advance of legal fees to KPMG employees under investigation, thereby depriving the individuals

of the right to their counsel of choice under the Sixth Amendment. None of these cases are similar

to the facts here, and they provide no basis for this Court to deviate from established Fourth Circuit



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precedent stating that the government has no obligation to create evidence that might be useful to

the defense.

               A second recording of Graham would not have been material and exculpatory.

       Snyder claims that the Government “manipulated and tampered with the evidence for the

specific purpose of depriving Snyder of the benefit of evidence that would have exonerated him.”

First Mot. at 1. And how would a meeting in September 2018 “exonerate” Snyder of conduct he

committed prior to the meeting?     The Defendant asserts that, “[a]ny opinion that Mr. Graham

would give the participants at the meeting would exonerate Snyder.” First Mot. to Dismiss 4.

       It would not because it could not. Any meeting between UMMS’ representatives and

Snyder and Graham would have occurred no earlier than September 6, 2018. By that point, as the

Indictment alleges, the Defendant had been making extortionate threats to UMMS and at least two

of its employees since January of that year including at meetings in January, March, April, June

and August.

       What is noticeably absent from the Defendant’s voluminous filing is any mention that

Snyder was acting on advice of counsel when he made his extortionate demands from January

2018 through September 2018. If he had been, that would be a defense. And he wouldn’t need a

meeting between UMMS and Graham if he had an advice of counsel defense. “To establish the

advice-of-counsel defense, a defendant must show the (a) full disclosure of all pertinent facts to

[counsel], and (b) good faith reliance on [counsel's] advice.” United States v. Mallory, 988 F.3d

730, 739 (4th Cir. 2021) (internal quotations omitted). However, “consultation with a lawyer

confers no automatic immunity from the legal consequences of conscious fraud.” U.S. ex rel.

Drakeford v. Tuomey, 792 F.3d 364, 381 (4th Cir. 2015) quoting United States v. Painter, 314

F.2d 939, 943 (4th Cir.1963) (holding, in a case involving fraud, that “[i]f in good faith reliance


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upon legal advice given him by a lawyer to whom he has made full disclosure of the facts, one

engages in a course of conduct later found to be illegal, the trier of fact may in appropriate

circumstances conclude the conduct was innocent because ‘the guilty mind’ was absent”).

       The Defendant cannot claim an advice of counsel defense because he had not disclosed his

conduct to Graham. During an August 27, 2018 recorded phone call between Graham and

UMMS’s outside counsel, Natalie Magdeberger, Graham confirmed that Snyder had not disclosed

to him that he had threatened to cause economic harm to UMMS if UMMS did not pay him $25

million. When asked if he knew of Snyder’s plan, Graham made statements like “I don’t know

much,” “I don’t know any details,” “I don’t really have any details at all,” “I don’t have enough

detail to, you know, sign off, particularly meaningfully,” that Snyder had not given him any

“specifics,” and that Graham “honestly [didn’t] even know who suggested – who suggested it in

the first place.” First Mot., Ex. 6 at 60, 61, 62, 65, 66. Magdeberger twice asked Graham if he

knew the proposed amount of the payments, and Graham said he did not. Id. at 63, 76. Graham

also said that he was not aware of the connection between the consulting agreement and M.S.’s

malpractice claim. That portion of the conversations went as follows:




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Aug. 27, 2018 Transcript extract at 64-65, attached as Exhibit 2 (a clearer version of Snyder’s

First Motion Exhibit 6). Of course, Snyder wants to draw the Court’s attention to a meeting

between UMMS and Graham that never happened, because the conversation that did happen shows

that Snyder never fully disclosed all of the facts to Graham. Its also notable, that Graham is not

aware of any connection between the consulting arrangement and a particular case. That is relevant


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to the Defendant’s claim that his conduct is covered by the litigation exemption, which will be

discussed below.

       Snyder claims the Government did not want Graham to attend a meeting between Snyder

and UMMS on September 5, 2018, again months after the charged conduct began, because,

according to Snyder “they did not want to create an unimpeachable recording of the meeting.”

First Mot. at 5. What this argument ignores is that the Government had already made an

unimpeachable recording of Graham in which he made clear that Snyder had not revealed to him

that Snyder had made extortionate threats.

               The Government did not deprive Snyder of the ability to defend himself.

       Snyder argues that he cannot obtain comparable evidence to the non-existent Graham

meeting. Snyder writes, “[t]here is no evidence that could possibly be comparable to an electronic

video recording of an actual meeting between Mr. Graham and UMMS in which the participants

would have candidly discussed all aspects of Snyder’s proposed consulting/retainer agreement.”

First Mot. Memo at 35. Snyder committed extortion over eight months, and Snyder possesses text

messages, contemporaneous notes, and recordings of nearly a dozen encounters with UMMS

representatives. He has all that evidence to use to defend himself. And while he complains on the

one hand that he lacks evidence to defend himself, on the other hand, he has declined to request

discovery, in order to avoid triggering reciprocal discovery obligations under Rule 16.

       Snyder’s assertion about “no comparable evidence” is particularly astounding considering

the entire August 23rd meeting is recorded. Ironically, reflecting Snyder’s guilty mind, Snyder

began that meeting by asking “we’re not recording this meeting, correct?” First Mot., Ex. 3 at 13.

So he evidently didn’t want to record that meeting. But now he claims he would have wanted a

meeting with Graham to be recorded. The former contradicts the latter.



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       And of course the August 27, 2018, recorded call between Magdeberger and Graham

confirmed that Graham was unaware of the extortionate threats and demands that the Defendant

had made.

       The cases that he cites are also unhelpful. In State v. Benson, 788 N.E.2d 693, 696 (Ct.

App. Ohio 2003), a police officer lied about the existence of a video tape that recorded a stop and

that was subsequently destroyed. In United States v. Belcher, 762 F. Supp. 666, 672-73 (W.D. Va.

1991), the court found a due process violation when two defendants were charged with

manufacturing and distributing marijuana and the marijuana plants were destroyed pre-indictment.

Here, the government did not destroy or otherwise fail to preserve evidence.

       IV.     THE COURT SHOULD DENY THE DEFENDANT’S SECTION MOTION
               TO DISMISS BECAUSE THE GOVERNMENT DID NOT “CORRUPT”
               THE INDICTMENT

       In his Second Motion to Dismiss, the Defendant demands that:

       The Indictment must be dismissed with prejudice because the government has set
       forth in the Indictment a falsified version of the most important meeting in this case,
       a meeting between Snyder and representatives of University of Maryland Medical
       System (“UMMS”) on August 23, 2018, and because an F.B.I. recording of that
       meeting, from which the government purportedly quoted, establishes that the
       falsifications are designed to exclude, as if they never existed, the wealth of
       statements by Snyder that preclude any finding that he committed the acts, or
       possessed the criminal intent, necessary to meet the requirements of the criminal
       extortion statutes under which he has been charged.

Sec. Motion to Dismiss at 1. This is the “prosecutorial misconduct” that the Defendant complains

of—the factual allegations contained in the Indictment that concern the August 23, 2018, meeting.

He even goes so far as to make the nonsensical claim that the government by the manner in which

it summarized, paragraphed and quoted from the transcript of the August 23, 2018, meeting.

       The Defendant claims that this conduct violates the U.S. Constitution and the Federal Rules

of Criminal Procedure, specifically:


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              “The government has deprived Snyder of his constitutional due process right to

               reasonable notice of the charges and to his due process right to a criminal process

               free of government misconduct, all in violation of the Due Process Clause of the

               Fifth Amendment to the Constitution of the United States.” Id at 6-7.

               “The government has also violated the mandate of Rule 7(c) of the Federal Rules

               of Criminal Procedure that the Indictment be “a plain, concise, and definite written

               statement of the essential facts constituting the offense charged.” Id. at 7.

              The government’s outrageous misconduct is also an obvious “defect in instituting

               the prosecution” and a “defect in the indictment,” for which Snyder is entitled to

               relief under Rule 12(b)(3)(A) and (B) of the Federal Rules of Criminal Procedure.

               Id.

Further, the Defendant asks the Court to take judicial notice of the entire transcript of the August

23, 2018, meeting between Snyder and representatives of UMMS “in determining whether Snyder

is charged with a crime.” Id. Specifically, the Defendant claims that (1) “the entire recordings

establish, as a matter of law, that Snyder lacked the necessary criminal intent for extortion;” and

(2) the recordings also “establish, as a matter of law, that Snyder’s conduct is protected by the

litigation exemption to extortion and that, by virtue of the litigation exemption, Snyder’s conduct

was not “wrongful” within the meaning of that term in either the Hobbs Act or the Maryland

extortion statute.” Id.

               The Purpose of an Indictment is to Put the Defendant on Notice of the Charges
               He Faces, Which the Indictment Undoubtedly Does.

       The Defendant’s Rule 12 arguments are the easiest to dispense with. While the Defendant

claims that the Government’s “outrageous misconduct” is also an “obvious ‘defect in instituting

the prosecution’ and a ‘defect in the indictment,’ for which Snyder is entitled to relief under Rule

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12(b)(3)(A) and (B) of the Federal Rules of Criminal Procedure,” he cites no authority for the

proposition that a defendant’s argument that if factual allegations in an Indictment are inaccurate

that is a “defect in instituting the prosecution” or a “defect in the indictment.” Sec. Mot. to Dismiss

at 5. And there is none.

       More fundamentally, all of the Defendant’s claims involve contested issues of fact.

Therefore, Rule 12 offers no basis for relief. “A district court may dismiss an indictment under

Rule 12 where there is an infirmity of law in the prosecution; a court may not dismiss an

indictment, however, on a determination of facts that should have been developed at trial.” United

States v. Engle, 676 F.3d 405, 415 (4th Cir. 2012) (quotation omitted). “A court cannot grant the

motion to dismiss under Rule 12 if a defendant's legal contentions are inextricably bound up with

the facts of the case.” United States v. Pinson, No. 2:19-CR-00250, 2020 WL 2601659, at *2

(S.D.W. Va. May 21, 2020) (unpublished) (quotation omitted); United States v. Regaldo, 497 F.

Supp. 3d 56, 58 (E.D.N.C. 2020). A 12(b) motion is permissible only when it “involves a question

of law rather than fact.” United States v. Shabbir, 64 F. Supp. 2d 479, 481 (D. Md. 1999) (quoting

United States v. Nukida, 8 F.3d 665, 669 (9th Cir.1993) (citation omitted)). Accordingly, Snyder’s

12(b) motion cannot be used as a summary judgment mechanism, nor can the court grant Snyder’s

motion if his legal contentions are inextricably bound up with the facts of the case.

       “An indictment constituted by a legal and unbiased grand jury, . . . if valid on its face, is

enough to call for trial on the merits.” Costello v. United States, 350 U.S 359, 363 (1956). An

indictment is valid on its face if the Indictment “set[s] forth the offense in the words of the statute

itself, as long as ‘those words of themselves fully, directly, and expressly, without any uncertainty

or ambiguity, set forth all the elements necessary to constitute the offense intended to be




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punished.’” Hamling v. United States, 418 U.S. 87, 100 (1974). Echoing these long-established

and basic principles, the Fourth Circuit explained most recently in United States v. Burks,

                Federal Rule of Criminal Procedure 12(b)(3) allows a defendant to move
       before trial to dismiss the indictment for failure to state an offense. To overcome
       such a motion, the indictment must include every essential element of the
       offense. See United States v. Perry, 757 F.3d 166, 171 (4th Cir. 2014). In general,
       it is “sufficient that an indictment set forth the offense in the words of the statute
       itself.” Id. (internal quotation marks omitted).

746 F. App'x 191, 198 (4th Cir. 2018) (quoting United States v. Wills, 346 F.3d 476, 488-

89 (4th Cir. 2003)). “When the words of a statute are used to describe the offense generally, they

‘must be accompanied with such a statement of the facts and circumstances as will inform the

accused of the specific offense, coming under the general description, with which he is

charged.’” United States v. Kingrea, 573 F.3d 186, 191 (4th Cir. 2009) (quoting United States v.

Brandon, 298 F.3d 307, 310 (4th Cir. 2002)). See also Fed. R. Crim. P. 7(c)(1) (“The indictment

... must be a plain, concise, and definite written statement of the essential facts constituting the

offense charged ...”).

       The Indictment charges the Defendant with attempted economic extortion in violation of

the Hobbs Act, 18 U.S.C. § 1951 and the Travel Act, 18 U.S.C. § 1952. The text of the Hobbs Act

is as follows:

       Whoever in any way or degree obstructs, delays, or affects commerce or the
       movement of any article or commodity in commerce, by robbery or extortion or
       attempts or conspires so to do, or commits or threatens physical violence to any
       person or property in furtherance of a plan or purpose to do anything in violation
       of this section shall be fined under this title or imprisoned not more than twenty
       years, or both.

18 U.S.C. § 1951(a). The Hobbs Act further defines “extortion” as “the obtaining of property from

another, with his consent, induced by wrongful use of actual or threatened force, violence or fear,

or under color of official right.” 18 U.S.C. § 1951(b)(2). “Such extortion can be based on the use



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of fear of economic harm.” Corp. Healthcare Fin., Inc. v. BCI Holdings Co., 444 F. Supp. 2d 423,

431 (D. Md. 2006) citing U.S. v. Billups, 692 F.2d 320, 330 (4th Cir.1982); United States v. Price,

507 F.2d 1349 (4th Cir. 1974).

       Count One is valid on its face. First, it tracks the language of the Hobbs Act, including all

its elements. Specifically, it charges that:

       Between in or about January and October 2018, in the District of Maryland and
       elsewhere, the defendant,

                                     STEPHEN L. SNYDER,

       willfully and knowingly, did attempt to commit extortion as that term is in defined
       in Title 18, United States Code, Section 1951(b)(2), and thereby would and did
       obstruct, delay and affect commerce and the movement of articles and commodities
       in commerce, as that terms is defined in Title 18, United States Code, Section
       1951(b)(3), to wit, SNYDER used threats of economic harm in an attempt to obtain
       a $25 million payment from the University of Maryland Medical System for
       himself.

Indictment, Count One, ¶ 75.3 Second, the preceding 74 paragraphs of Count One, which take up

15 pages in the Indictment, contain, “a statement of the facts and circumstances as will inform the


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         Counts Two through Eight are also valid on their face because they track the language
of the Travel Act and re-allege and incorporate paragraphs 1 through 74 of Count One.
Specifically, Count Two charges that the Defendant:

       traveled in interstate commerce and used a facility in interstate commerce, as
       specifically alleged below, with the intent to promote, manage, establish, carry on,
       and facilitate the promotion, management, establishment and carrying on of an
       unlawful activity, to wit: extortion in violation of Maryland Criminal Law § 3-701
       (Extortion); and thereafter did perform and attempt to perform acts to promote,
       manage, establish and carry on, and to facilitate the promotion, management,
       establishment and carrying on of said unlawful activity.
Maryland's extortion statute prohibits obtaining money, property, or anything of value from
another person with the person's consent, if the consent is induced by “wrongful threat of
economic injury.” Md.Code, Crim. Law, § 3–701. Corp. Healthcare Fin., Inc. v. BCI Holdings
Co., 444 F. Supp. 2d 423, 431 (D. Md. 2006).



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accused of the specific offense, coming under the general description, with which he is

charged.’” Kingrea, 573 at 191. Under the heading, “Purpose of the Scheme,” the Indictment

alleges that:

        The purpose of the extortion scheme was for SNYDER to obtain $25 million from
        UMMS for himself, separate and apart from any claim by one of his clients, by
        using threats of economic and reputational harm to UMMS and its organ transplant
        program.

Indictment Count One ¶ 13. Under the heading, “Manner and Means of the Scheme,” the

Indictment alleges:

    14. It was part of the extortion scheme that SNYDER threatened that if UMMS did not pay
        him $25 million for himself and not for any client, SNYDER launch a public relations
        campaign against UMMS that alleged, among other things, that UMMS transplanted
        diseased organs into unsophisticated patients without informing them of the quality of the
        organs they were receiving in order to generate revenue. That campaign would include:
            a. a front-page article in The Baltimore Sun;
            b. other national news stories;
            c. a press conference;
            d. advertisements on the Internet, including one that would run every time someone
                accessed UMMS’s transplant site; and
            e. at least two videos that SNYDER produced and would air if his demand for a $25
                million payment were not met.
    15. It was further part of the extortion scheme that SNYDER demanded that UMMS disguise
        the $25 million payment as a sham consulting arrangement between SNYDER and UMMS.
    16. It was further part of the extortion scheme that SNYDER threatened Lawyer 1 by telling
        her that she would lose her job if she did not aid SNYDER in obtaining the $25 million
        payment for SNYDER.
    17. It was further part of the extortion scheme that SNYDER threatened to harm the
        professional reputation of Dr. 1 if he did not aid SNYDER in obtaining the $25 million
        payment for SNYDER.

Indictment, Count One, ¶¶ 14-17. Under the heading, “Acts in Furtherance of the Scheme,” the

Indictment makes various allegations in 56 numbered paragraphs under the following sub-

headings:

        “SNYDER Asked to Speak with Dr. 1 in the Hallway for a Private Conversation” referring
        to a meeting on January 1, 2018 (Indictment, Count One ¶18)
       “SNYDER Communicated with Dr. 1 Directly After the Conference” (Indictment, Count
        One ¶¶ 19-20)

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      “SNYDER Meets with Dr. 1 on March 21, 2018” (Indictment, Count One ¶¶ 21-23)
      “April 10, 2018, Snyder Exchanges Texts with Dr. 1” (Indictment, Count One ¶¶ 24-34)
      “June 22, 2018, Snyder Meets with UMMS Representatives” (Indictment, Count One ¶¶
       35-55); and
      “August 23, 2018, Snyder Meets with UMMS Representatives (Indictment, Count One ¶¶
       56-73)

       The Defendant does not claim that the Indictment fails to allege the elements of the offense

or fails to provide him with “a statement of the facts and circumstances as will inform the accused

of the specific offense, coming under the general description, with which he is charged,” as

Kingrea requires, because he cannot. Indeed, the Defendant’s Second Motion to Dismiss itself is

the best evidence that he is on notice of the offense with which he is charged. He discusses the

charges at length in his motion and vigorously denies them.

       Thus, the case should proceed to trial.

               The Defendant’s Motion to Dismiss Asks for Summary Judgement Based on
               Facts Not Contained in the Indictment, Something the Federal Rules of
               Criminal Procedure Do Not Allow.

       The Defendant’s Second Motion to Dismiss reads like a motion for summary judgment.

The problem for the Defendant, however, is that the federal rules of criminal procedure, unlike the

civil rules of criminal procedure, do not allow for such motions. He devotes nearly all of his

arguments to pointing to facts and evidence that are not in the Indictment, which is not a basis for

dismissing an indictment. In the very beginning of his motion he writes, again and again, “The

Bar Counsel file contained …” pointing to various pieces of evidence collected by the Bar Counsel

during her investigation that he thinks exonerates him. And the Defendant attaches approximately

16 exhibits to his Second Motion to Dismiss, which consume more than 100 pages of his filing,

and all of which are factual in nature including recordings, transcripts, text messages, emails,

interview reports, and others. He asks the Court to treat these exhibits as evidence and to reach


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the conclusion that the Defendant is not guilty. And he doesn’t cite a single instance where a court

in a criminal case has done what he is asking this Court to do.

       For example, he claims that the transcript of the August 23, 2018, includes “statements by

Snyder that preclude any finding that Snyder committed acts or possessed the criminal intent

necessary to meet the requirements of the criminal statutes under which he is charged.” Mem. in

Support of Sec. Mot. to Dismiss at 1. This argument ignores the fact that the Indictment alleges

that Snyder made extortionate threats during the April 30, 2018, meeting, Indictment Count One

¶¶ 25-34, and during the June 22, 2018, meeting, Indictment Count One, ¶¶35-55, both of which

obviously occurred before August 23, 2018. In any event, the Defendant is asking the Court to do

something only the jury can do—determine, based on the facts, whether the Government has met

its burden.

               The Court Should Not Consider Evidence Outside the Allegations in the
               Indictment to Determine Whether the Allegations in the Indictment will be
               Proven.

       The Defendant concedes that “A ‘challenge to the sufficiency of the indictment ... is

ordinarily limited to the allegations contained in the indictment.’” United States v. Pratt, 2013 WL

310565, *2 (D. Md. Jan. 24, 2013), quoting United States v. Engle, 676 F.3d 405, 415 (4th Cir.

2012) (emphasis added). Mem. in Support. of Sec. Mot. to Dismiss at 20 quoting Pratt, 2013 WL

310565 at *4. He cites no authority for the proposition that a court should review various pieces

of evidence submitted by a Defendant to determine whether an indictment should be dismissed

because, in the Defendant’s view, the evidence outside the allegations in the Indictment establish

his innocence. He cites Pratt for the principle that a defendant is entitled to “reasonable notice”

of the charges, which is of course is true, but nothing in Pratt supports the Defendant’s argument

that a Defendant is not on “reasonable notice” if the Defendant believes there is evidence, outside


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the Indictment, that exonerates him. His citations to United States v. Brandon, 298 F.3d 307, 310

(4th Cir. 2002) and United States v. Rendelman, 641 F.3d 36, 44 (4th Cir. 2011) similarly do not

support his arguments. Brandon is consistent with the Fourth Circuit’s holdings in Burks and

Kingrea, cited above which were decided after Brandon, describing what constitutes a sufficient

indictment. Specifically:

       “[A]n indictment is sufficient if it, first, contains the elements of the offense
       charged and fairly informs a defendant of the charge against which he must defend,
       and, second, enables him to plead an acquittal or conviction in bar of future
       prosecutions for the same offense.” Hamling v. United States, 418 U.S. 87, 117, 94
       S.Ct. 2887, 41 L.Ed.2d 590 (1974). Usually “an indictment is sufficient if it alleges
       an offense in the words of the statute,” United States v. Wicks, 187 F.3d 426, 427
       (4th Cir.1999), as long as the words used in the indictment “fully, directly, and
       expressly, without any uncertainty or ambiguity, set forth all the elements necessary
       to constitute the offence,” Hamling, 418 U.S. at 117, 94 S.Ct. 2887 (internal
       quotation marks omitted). However, simply parroting the language of the statute in
       the indictment is insufficient. When the words of a statute are used to describe the
       offense generally, they “must be accompanied with such a statement of the facts
       and circumstances as will inform the accused of the specific offence, coming under
       the general description, with which he is charged.” Id. at 117–18 (internal quotation
       marks omitted). Thus, the indictment must also contain a “statement of the essential
       facts constituting the offense charged.” Fed.R.Crim.P. 7(c)(1) (emphasis
       added); see United States v. Smith, 44 F.3d 1259, 1263 (4th Cir.1995).

298 F.3d 307, 310 (4th Cir. 2002). The Rendelman opinion, which quotes Brandon, says the same.

As described above, the Indictment contains everything Brandon and Rendelman say an indictment

should contain.   Thus, these decisions, far from supporting dismissal, support denying the

Defendant’s motion.

       The Defendant asserts that “falsification of the factual allegations of an indictment is also

an obvious “defect in instituting the prosecution” and a “defect in the indictment” for which the

Defendant may seek relief under Rule 12(b)(3)(A) and (B). F.R. Crim. Proc. [sic.]” but cites no

authority in support of that proposition. Mem. in Support of Sec. Mot. to Dismiss at 20. And there

is none.



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       The Defendant states that “there is generally no summary judgment procedure in criminal

cases and that Fed. Crim. Rule 29 usually provides an adequate mechanism for resolution of legal

issues.” Mem. in Support of Sec. Mot. to Dismiss at 21. That statement is incorrect. There is no

summary judgment procedure in criminal cases, general or otherwise. The Fourth Circuit opinion

that the Defendant cites, United States v. Weaver, expressly states that. 659 F.3d 353 n* (4th Cir.

2011) (“there is no provision for summary judgment in the Federal Rules of Criminal Procedure”).

The Defendant incorrectly asserts that:

       The Fourth Circuit declared in Weaver that cooperation by the government, to
       permit the court to determine whether the defendant’s conduct was criminal, is to
       be encouraged, because, “There is no good reason to force the court to incur the
       expense and delay of a trial that would inevitably lead to the same outcome as its
       pretrial ruling.” Id.

Mem. in Support of Sec. Mot. to Dismiss at 21 citing Weaver, 659 F.3d at 355 n*. While the Court

in Weaver stated what the Defendant quoted, it did not say that “cooperation by the government,

to permit the court to determine whether the defendant’s conduct was criminal, is to be

encouraged.” Indeed, the sentence immediately before the one the Defendant quoted in the opinion

makes it clear that a district court cannot resolve whether a defendant’s conduct was criminal when

there are disputed facts.4 This is what the Defendant omitted:

       As circuit courts have almost uniformly concluded, a district court may consider a
       pretrial motion to dismiss an indictment where the government does not dispute the
       ability of the court to reach the motion and proffers, stipulates, or otherwise does
       not dispute the pertinent facts.




       4
         In Weaver, the defendant was charged with a violation of 18 U.S.C. § 922(h) which
prohibits a person from possessing a firearm while “employed for” a convicted felon. The
defendant moved to dismiss the indictment arguing that the term “employed” meant for some
form of compensation. The Government in that case apparently conceded that it could not prove
that the Defendant received compensation and the district court dismissed the indictment. On
appeal, the Fourth Circuit reversed the district court’s decision finding that “The statute,
however, does not contain an inflexible requirement that compensation be involved.”
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659 F.3d 353, 355 n* (4th Cir. 2011) (emphasis added). The Defendant claims there are statements

in the August 23, 2018, meeting that exonerate the Defendant. The Government disputes that

contention. Further, the Indictment alleges conduct beginning in January 2018, including meetings

and phone calls where the Defendant made extortionate demands that predate the August 23, 2018,

meeting. Thus, even if there was no dispute as to what occurred during the August 23, 2018, and

there is, the Court could not dismiss the Indictment because there are allegations that he made

extortionate demands before the August 23, 2018, meeting.




                                                                   The same conclusion applies

here.

        The Seventh Circuit case the Defendant cites, United States v. Risk, 843 F.2d 1059 (7th

Cir. 1988), does not support his argument. In Risk, the Government did not object to the district

court considering various pieces of evidence, submitted in discovery, in deciding the motion to




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dismiss until the case was on appeal.5 At that point, the Seventh Circuit held it was too late. Here,

the Government disputes the Defendant’s claim that the August 23, 2018, transcript exonerates

him, and, more generally, objects to the piecemeal and one-sided presentation of some of the

evidence in this case that the Defendant invites the Court to rely on to declare him innocent.

       The Fifth Circuit case the Defendant cites, United States v. Flores, 404 F.3d 320, 325 (5th

Cir. 2005), is also unavailing. In Flores, the defendant was charged with violating 18 U.S.C. §

922(g)(5)(A), which prohibits the possession of a firearm by “an alien illegally or unlawfully in

the country.” The defendant moved to dismiss the indictment raising a purely legal issue, namely,

that his receipt of “temporary treatment benefits” pursuant to 8 U.S.C. § 1254a meant he was not

illegally or unlawfully in the United States. The Government did not dispute the fact that the

defendant had been granted temporary treatment benefits. The district court granted the motion to

dismiss. The Government appealed and the Fifth Circuit reversed the district court. The Fifth

Circuit held that, as a matter of law:

       We read the phrase “illegally or unlawfully in the United States” in § 922(g)(5)(A)
       to include those aliens, like Flores, who entered the country illegally and
       subsequently qualified for temporary treatment benefits under 8 U.S.C. § 1254a.
       Our interpretation is informed by the administrative regulations promulgated by the
       ATF interpreting § 922(g)(5)(A). See 27 C.F.R. § 478.11.

United States v. Flores, 404 F.3d 320, 326 (5th Cir. 2005)


5
 As the Seventh Circuit noted,
       The government did not challenge the district court's authority to consider the
       undisputed facts disclosed by the government until after the district court granted
       Risk's motion to dismiss. Even then, the government did not object but
       proffered additional facts which it urged the court to consider upon
       reconsideration of Risk's motion.4 It was not until this appeal that the government
       first objected to the district court's consideration of the undisputed facts
       voluntarily disclosed by the government to Risk during discovery. Now it is too
       late. Under the unusual circumstances of this case, we find that the district court
       acted properly.
United States v. Risk, 843 F.2d 1059, 1061 (7th Cir. 1988)

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       In Weaver, Risk and Flores, there were no factual disputes between the parties. Rather the

defendants’ motions to dismiss were based on purely legal issues. That is not the case here. Just

the opposite—the Defendant’s motion to dismiss is based on purely factual issues all of which are

outside the allegations contained in the Indictment.

       The Defendant urges the Court to take judicial notice of the transcript of the August 23,

2018, meeting claiming that if the Court did, the Court would conclude that no crime had occurred.

The Court could not reach such a conclusion and therefore should not take judicial notice of the

August 23, 2018, transcript. The Indictment alleges the Defendant’s extortionate conduct began

eight months earlier in January 2018 and that the Defendant met with UMMS representatives on

at least two occasions, April 30, 2018, and June 22, 2018, both of which obviously occurred before

the August 23, 2018, meeting. The Defendant made extortionate threats at both of those earlier

meetings. Just as a meeting with Andrew Graham on September 6, 2018, could not exonerate the

Defendant of the extortionate demands he made prior to September 6, 2018, nothing said on

August 23, 2018, could change the fact that the Defendant had made extortionate demands on

April 30, 2018, and June 22, 2018.

       In support of his legally erroneous position, the Defendant tries to analogize this case to

two cases involving criminal charges arising out of contractual relationships between private

parties and the United States Government. Contract interpretation was at the heart of both those

cases. That is obviously not so here.

       The first is U.S. v. General Dynamics Corp., a case where, as the Defendant describes it, a

defense contractor was charged with filing false claims pursuant to a fixed price contract. Mem.

in Support of Sec. Mot. to Dismiss at 22 citing 644 F.Supp. 1497 (C.D. Cal. 1986) rev’d on other

grounds, 828 F.2d 1356 (9th Cir. 1987). The defendant in that case moved to dismiss the



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indictment arguing that the contract at issue was ambiguous and asked the court to take judicial

notice of the contract in deciding his motion. The court did so on the basis that, “In the case at

hand, the Contract is the very subject of the indictment. Its meaning and terms are referred to in

the indictment, and neither party can or does take a different position. Gen. Dynamics Corp., 644

F. Supp. at 1500. That is where the analogy falls apart.

        The August 23, 2018, meeting is not the “very subject of the indictment.” It is not like the

contract in General Dynamics. It is the last, chronologically, in a series of meetings and phone

calls where the Indictment alleges that the Defendant made extortionate threats. The Defendant

acknowledges as much when he states,

        Since no recording had been made of the June 22nd meeting, the government staged
        the August 23rd meeting by having Kinter tell Snyder that an essential person, Dr.
        Whye, had been absent and that Snyder was to make the same presentation to him
        on August 23rd.

Mem. in Support of Sec. Mot. to Dismiss at 11.

        Further, General Dynamics is a thirty-four year old case from the Ninth Circuit that relied

on a Fourth Circuit’s opinion, United States v. Race, 632 F.2d 1114 (4th Cir.1980), which is now

bad law. In Race, the defendant was prosecuted under 18 U.S.C. § 1001 for submitting false bills

to the government. The Court dismissed the indictment, finding that the contract at issue either

authorized the payments or, as the Government argued, was ambiguous. Id. at 1119. If it was the

later, the court held that, “it necessarily concedes that the defendants' construction” of the contract

was “reasonable,” and if the defendant’s construction was reasonable, then the defendant could

not be found guilty. In United States v. Sarwari, the Fourth Circuit explained that it “disavow[ed]”

Race:

        More than thirty years ago, we suggested, in dicta, that a false statement conviction
        “could not stand” if a defendant's statement accords “with a reasonable
        construction” of the information sought. United States v. Race, 632 F.2d 1114, 1120

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          (4th Cir.1980). But, both before and after issuing this dicta in Race, in other cases
          we interpreted Bronston, as our sister circuits have—to provide a defense only if a
          defendant's statement is literally true, not if simply a “reasonable construction.” See
          Good, 326 F.3d at 591–92; Earp, 812 F.2d at 918–19; Paolicelli, 505 F.2d at 973.
          Given the clarity and narrowness of the Bronston defense, we must disavow the
          Race dicta.

669 F.3d 401, 407 (4th Cir. 2012). Like the Fourth Circuit, the Ninth Circuit has also rejected

Race, and so General Dynamics, which relied on Race, is unpersuasive at this point, if not

irrelevant. See United States v. Camper, 384 F.3d 1073, 1078 (9th Cir. 2004).

          In the second case he cites, United States v. Liberto, the Government did not object to the

court reviewing the contracts at issue. That of course distinguishes Liberto from this case. There

is no contract that is the “very subject of the indictment,” in this case as there was in Liberto. No.

CR RDB-19-0600, 2020 WL 5994959, at *8 (D. Md. Oct. 9, 2020).6 And, in any event, in Liberto

the never took judicial notice of the contract. The Liberto court also distinguished Race, the case

that General Dynamics relied on, and its reasoning applies equally well here, and noted Race was

no longer good law, something the Defendant failed to do in his memorandum:

          In Race, the Fourth Circuit indicated that “whenever a defendant's statement or
          action under a contract accords with a reasonable construction of the enabling
          language of the contract, the Government will not have carried its burden of
          ‘negativ(ing) any reasonable interpretation that would make the defendant's


6
    Further, the court in Liberto denied the motion to dismiss reasoning:

                   It is the role of the jury, and not of this Court, to determine the
           materiality of Defendant's statements or omissions in furtherance of his alleged
           scheme to defraud. See Neder v. United States, 527 U.S. 1, 25 (1999). That
           determination in this case necessarily relies on the interpretation of the Supplier
           Agreements and the Addendum attached to them, which, in turn, relies on facts
           which must be determined by the jury. Defendant, relying on the United States
           Court of Appeals for the Fourth Circuit's dicta in United States v. Race, 632 F.2d
           1114 (4th Cir. 1980), asserts that if he can show that his understanding of the
           contracts was a reasonable one, then he cannot be criminally liable under the
           wire fraud statute.

No. CR RDB-19-0600, 2020 WL 5994959, at *8 (D. Md. Oct. 9, 2020
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        statement factually correct.’ ” 632 F.2d at 1120. Defendant's reliance on this
        principle from Race is misplaced for several reasons. First, the Fourth Circuit
        rendered its decision after a trial and jury verdict, during which the Fourth Circuit
        noted “there [was] not evidence in the record to support a finding by the jury that
        the defendants did not believe in good faith” that their interpretation of the contract
        was reasonable. Id. at 1121. That is simply not the posture of this case. Second, the
        dicta from Race was explicitly rejected by the Fourth Circuit in United States v.
        Sarwari, 669 F.3d 401, 407 n.3 (4th Cir. 2012), where the Fourth Circuit
        “disavow[ed] the Race dicta” that “a false statement conviction ‘could not stand’ if
        a defendant's statement accords ‘with a reasonable construction’ of the information
        sought.” As a result, it cannot be said that the Fourth Circuit mandates the dismissal
        of wire fraud charges when a Defendant can show that his understanding of the
        contracts at issue was a reasonable one.

No. CR RDB-19-0600, 2020 WL 5994959, at *8 (D. Md. Oct. 9, 2020).

        The Defendant cites Bank of Nova Scotia v. United States in support of his argument that

the Court should take judicial notice of the August 23, 2018, in order to determine if the defendant

committed a crime. 487 U.S. 250. But Bank of Nova Scotia addressed claims of grand jury abuse,

not the argument the Defendant is making here that the factual allegations in the Indictment

concerning the August 23, 2018, meeting are inaccurate and that the full transcript establishes that

the Defendant is innocent.

        The Defendant’s reliance on an Eleventh Circuit decision, United States v. Sigma Intern,

Inc., is similarly misplaced. 244 F.3d 841, 856 (11th Cir. 2001). Sigma also concerned a claim of

grand jury abuse. The Defendant claims, without any factual support, that “the prosecutors here

took it upon themselves to create and put before the grand jury a charging document they knew to

be false.” Mem. in Support of Sec. Mot. to Dismiss at 24. How does the Defendant know what

“the prosecutors” knew? He doesn’t. And to be clear, “the prosecutors” do not know that the

Indictment is false. Just the opposite. At trial the evidence will establish that the factual allegations

in the Indictment, all the factual allegations not just the ones that concern the August 23, 2018,

meeting are true. The other cases that the Defendant cites alleging instances of grand jury abuse,



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United States v. Regan, 103 F.3d 1072, 1082 (2nd Cir. 1997), and United States v. Towne, 705 F.

Supp. 2d 125, 136 (D. Mass. 2010) are similarly inapposite.

       The Defendant cites, United States v. Bertoli, for the proposition that “Case law ...

establishes that the issue of whether the Government’s misconduct is so outrageous as to require

dismissal of an indictment is a question within the sole province of the court.” But, Bertoli

involved a question of whether the defendant could argue vindictive prosecution to the jury, not

whether an indictment could be dismissed pretrial. 854 F. Supp. 975, 1076 (D. N.J 1994). Thus,

it too offers his arguments no support.


               The Factual Allegations in the Indictment Are Accurate and, In Any Event, it
               is Up to a Jury to Decide Whether there is Evidence that the Defendant
               Committed the Charged Offenses.

       The Defendant claims, “By falsifying statements purportedly quoted in the Indictment,

prosecutors have added a significant element to the analysis that compels the Court to go outside

the four corners so the Indictment and to consider the entire recording which the government

misused in making its false allegations.” Mem. in Support of Sec. Mot. to Dismiss at 24. But the

Defendant does not cite a single instance where the government misquoted something from the

August 23, 2018, meeting in the Indictment. He doesn’t even claim that a comma is missing.

Instead he objects to introductory phrases and transitional phrases, that were not quotes, things like

“then continued,” and “then responded.” The use of these phrases is the “outrageous conduct” that

the Defendant complains of.

       The Defendant asserts that, “The prosecutors falsified allegations about [the meeting on

August 23, 2018, in several different ways.” Mem. in Support of Sec. Mot. to Dismiss at 12.

       The Defendant is wrong.




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       As stated previously, the Government does not believe that the Court should take judicial

notice of the full transcript of the August 23, 2018, meeting in order to rule on the validity of the

Indictment because that single meeting could not and does not address the totality of the charges

in the Indictment. Furthermore, for the reasons cited above the Indictment is valid on its face and

calls for a trial on the merits. But the Defendant’s accusations that the Government has presented

a “falsified” version of the August 23, 2018, meeting cannot go unchallenged. The Government

will cite the transcript of the August 23, 2018, meeting for the purpose of showing that the

Defendant’s allegations of prosecutorial misconduct are baseless. In short, while the Defendant

claims the Government misrepresented the August 23, 2018, in the Indictment, it is the Defendant

who is making misrepresentations.

       Before addressing each of the Defendant’s false allegations about the Indictment, the

Government notes the underlying infirmity of the Defendant’s claims. The Defendant argues,

“The falsifications are so blatant, and the uses of deceptive techniques are so pervasive, that there

can be no doubt that the government deliberately caused the Indictment to set forth a false version

of what took place at the meeting.” Sec. Mot. to Dismiss at 2. Deceptive to whom? The Defendant

has the transcript of the August 23, 2018, summarized, paraphrased and quoted in the Indictment.

Assuming for the sake of argument that his contentions about the Indictment are true, he hasn’t

been deceived. So who has? The short answer is no one. So there is no justification for the radical

remedy of dismissing the Indictment with prejudice.

       In short, none of the allegations in the Indictment were “falsified.” Further, whether the

allegations contained in the Indictment can be proven is a question for the jury.

       The Indictment summarizes, paraphrases and at times quotes from memoranda of

interviews and transcripts of recordings. The Indictment is formatted as numbered paragraphs. It



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is not presented as a running transcript from the August 23, 2018, meeting or any other meeting or

phone call. Direct quotes are clearly set-off in the Indictment with quotation marks to distinguish

them from allegations that are not direct quotes. As stated above, the Defendant does not claim

that a single quote is inaccurate.

       The jury will hear the complete recordings in this case. They will decide, after having been

instructed by the Court, whether the Defendant broke the law. The Government is reluctant to

engage in a line-by-line rebuttal of the Defendant’s false claims about the Indictment because, for

the reasons articulated above, the Indictment is facially valid and thus this case should proceed to

trial. And Defendant’s contention that the Court must engage in a line-by-line edit of an indictment

returned by a lawfully constituted grand jury would be unprecedented. But the Defendant’s

allegations of linguistic misconduct are all so baseless that the Government feels compelled to

address them. The Government will only address the accusations the Defendant levels in his

Memorandum in Support of Second Motion to Dismiss.7



       7
          The Defendant also submitted a document that appears to have been prepared by his
paralegal, Exhibit 4, and which contains the paralegal’s opinions on what parts of the indictment
are “false” and which aren’t. The Defendant appears to have copied many of these opinions, word-
for-word, in his brief. Because this document is duplicative of the arguments the Defendant makes
in his Memorandum in Support of His Second Motion to Dismiss the Government will not address
it. The Defendant also hired a writing consultant, Ross Guberman, Esq., to prepare a third and
largely duplicative set of criticisms of the indictment. Guberman’s Declaration repeats many of
the arguments that the Defendant makes in his Memorandum in Support of the Second Motion to
Dismiss and, in fact, reads more like another brief on behalf of the Defendant than an expert report.
In any event, Mr. Guberman’s declaration reveals a lack of understanding of the purposes of an
indictment, much like the Defendant’s Memorandum in Support of Second Motion to Dismiss.
Further, like the Defendant’s brief, Mr. Guberman’s declaration is full of factual conclusions that
are irrelevant at this or any stage in the proceeding because they are matters only the jury can
decide. For example, Mr. Guberman asserts, without a citation to anything, that “Mr. Snyder
believed that the proposed agreement could benefit UMMS.” Exhibit 5 to Defendant’s Second
Motion to Dismiss at 5. Mr. Guberman’s beliefs as to the Defendant’s statement of mind are
irrelevant. Because much of it is dedicated to making erroneous factual conclusions and, overall,
it is duplicative of the Defendant’s own factually inaccurate arguments about the language in the
Indictment, the Government will not address it.
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       The Defendant argues that:

       First, the Indictment consists of pairs of paragraphs in which one of the participants
       is alleged to have made a statement and the other participant, Snyder, is alleged to
       have responded or in which one statement by Snyder is alleged to have been a
       “continuance” of a previous statement by him.

Mem. in Support of Sec. Mot. to Dismiss at 12.

       The Defendant’s assertion is incorrect.

       All of the statements by Snyder that are quoted in the Indictment were made by Snyder in

the order in which they were made. By their own text, they are plainly (1) in response to earlier

comments by UMMS representatives or are (2) statements by Snyder that start new lines of

dialogue with UMMS representatives or are (3) free-standing statements by Snyder. None of the

transitional words or phrases used in the Indictment mispresent the dialogue that occurred during

the August 23, 2018, meeting.

       The Defendant objects to the following introductory and transitional phrases:

      Paragraph 61 beings with the phrase, “SNYDER then continued …” Mem. in Support of
       Sec. Mot. to Dismiss at 12 (emphasis added).
      Paragraph 62 begins with the phrase, “Lawyer 1 then responded …” Id. at 13 (emphasis
       added).
      Paragraph 70 begins with the phrase, “SNYDER then repeated …” Id. (emphasis added).
      Paragraph 72 begins with the phrase, “SNYDER then suggested …” Id. at 14. (emphasis
       added).

       Every one of the Defendant’s complaints about the transitional and introductory phrases in

the Indictment is factually inaccurate. The Government will address each of them, in turn.

       The very first example the Defendant gives of an instance where “pairs of paragraphs in

which one of the participants is alleged to have made a statement and the other participant, Snyder,

is alleged to have responded or in which one statement by Snyder is alleged to have been a




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“continuation” of a previous statement by him,” is, paragraph 61 of the Indictment. Mem. in

Support of Sec. Mot. to Dismiss at 12.

       Below is what appears in paragraph 61 of Count One:

               SNYDER then continued:
                        … but what happened was, when we investigated [the Client
               2] case, we found a shitload of – of information of what’s going on
               in this department; and that’s really different, from her case. In other
               words, if I’m going to – and I – I get cases against University of
               Maryland all the time. I mean Let’s – let’s not be – let’s be clear on
               that. I’m, by this agreement, I’m conflicting myself out of future
               cases, again – you know, against this department; not only me, but
               my sons as well, and that’s – that’s not a small thing. . .

Indictment Count One, ¶ 61. This is what appears in the transcript from the August 23, 2018,

meeting. The Defendant does not claim otherwise, because he cannot. In the preceding paragraph,

Snyder is quoting as saying “Well, who knows? ….” in response to a question by Dr. 2, “So what

specifically what you be doing?” Paragraph 60 is clearly a response to paragraph 59. Paragraph

61 is not a response to anything. It is a statement by Snyder. The phrase, “SNYDER then

continued,” signals that the statements Snyder made in paragraph 61 came after the statement he

made in paragraph 60, which is true. The Indictment does not say that the statements in paragraph

immediately followed Snyder’s statement in paragraph 60. Nor is the statement by Snyder in

paragraph 61 alleged to be in response to anything said by a UMMS representative. Put another

way, paragraphs 60 and 61 both contain statements by Snyder in the chronological order in which

they occurred. That is what “SNYDER then continued,” indicates. There is nothing inaccurate

about that transitional phrase.

       The Defendant next claims that “Paragraph 61 purports to quote a statement by Snyder to

which Kinter is alleged to have “responded” by a statement quoted in paragraph 62.” Mem. in

Support of Sec. Mot. to Dismiss at 12. By its plain text, the statement by Kinter in paragraph 62



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is in response to what Snyder said in paragraph 61. Nothing that was said in the six pages between

paragraph 61 and 62 changes that conclusion. The Defendant does not cite a single statement or

line of dialogue in those six pages which indicate that the consulting agreement was anything other

than a “consulting agreement on paper” as Kinter is accurately quoted as saying. And the best

evidence that it was a “consulting agreement on paper,” is the fact that Snyder agreed with Kinter’s

characterization of it in that way. Below is a screenshot from the transcript:




Transcript Extract at 45: 18-22, attached as Exhibit 3. Put another way, paragraph 61 quotes

Snyder describing a “consulting agreement on paper,” which is how Kinter, in paragraph 62,

summarized Snyder’s statements in paragraph 61.           And Snyder himself agrees with her

characterization. There is nothing inaccurate about the transition phrase, “Lawyer 1 responded,”

or the quotes that followed that transitional phrase.

       The Defendant next claims that “Paragraph 70 falsely alleges that, after agreeing with a

statement by Kinter, as alleged in paragraph 69, Snyder “then repeated” a statement that is quoted

in the latter paragraph.” Mem. in Support of Sec. Mot. to Dismiss at 13. Paragraph 70 doesn’t

falsely allege anything. The full text of paragraph 70 is as follows:

       SNYDER then repeated to the UMMS representatives, “The critical thing is, how
       do we implement an agreement that doesn’t let these things surface, that’s not


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       extortion and not– and– and – and – and – and prevents Steve from handling the
       cases, that – that’s the key to this.”

Indictment, Count One ¶70. The Defendant argues that “In truth, there are six pages of dialogue

between the statements in paragraph 69 and the statement in paragraph 70 that Snyder is alleged

to have ‘then repeated.’” Mem. in Support of Sec. Mot. to Dismiss at 13. This argument ignores

the plain text of paragraph 70. The statement, “SNYDER then repeated,” in paragraph 70 is not a

reference to anything said in paragraph 69 because paragraph 69 does not quote Snyder. Rather,

paragraph 69 quotes Lawyer 1:

       Later still, Lawyer 1 asked SNYDER:

                       The only reason we are where we are at, now, right, having
               this conversation, is because – and you’ll show Dr. 2 the video, is
               you’ve got in your mind damaging things, and that if you didn’t have
               these damaging things and you didn’t have the ability to make an ad
               and go on TV, you wouldn’t be here today talking to us about a
               consulting agreement…right?–

Indictment, Count One ¶ 69 (emphasis added).

       The phrase “SNYDER then repeated,” in paragraph 70 is a reference to paragraph 68.

A side-by-side comparison of paragraph 68 and paragraph 70 makes clear that, in paragraph 70,

Snyder is repeating what he said in paragraph 68.

Table 1: Comparison of Paragraphs 68 and 70

 Indictment, Count One, ¶68 (emphasis                 Indictment, Count One, ¶70 (emphasis
 added)                                               added)
 So – so again, I – I don’t – I understand it’s a     SNYDER then repeated to the UMMS
 unique thing. But – but again, you don’t want        representatives, “The critical thing is, how do
 to shut her up, which is not extortion, and not      we implement an agreement that doesn’t let
 shut me up. You – you want me not to go              these things surface, that’s not extortion and
 forward. So the question is, how do we do it         not– and– and – and – and – and prevents Steve
 and how is it not perceived as extortion?            from handling the cases, that – that’s the key to
 And how is it perceived as in compliance with        this.”
 the rules, isn’t that right? Isn’t that what we’re
 talking about?



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In paragraph 68, the Defendant asserts, “you don’t want to shut her up, which is not extortion, and

not shut me up.” This statement has two parts: (1) Snyder is trying to sell UMMS on suppressing

the information he claims to have obtained, in other words shutting up his client and shutting him

up, and (2) he asserts, incorrectly, that his demand isn’t extortion. He then repeats both those

things, in paragraph 70 when she says, ““The critical thing is, how do we implement an agreement

that doesn’t let these things surface, that’s not extortion.” Shutting him and his client up and “not

letting things surface,” is the same thing. And so are his claims that doing so doesn’t amount to

extortion. So, the introductory phrase in paragraph 70 to which the Defendant objects, “SNYDER

then repeated,” is accurate because Snyder was repeating what he said in paragraph 68.

       The Defendant next objects to paragraph 72 claiming that “Paragraph 72 falsely alleges

that, after Snyder made a statement quoted in paragraph 71 that this client’s desire was not to settle,

Snyder ‘then suggested’ abandoning the idea of a consulting agreement.” Mem. in Support of Sec.

Mot. to Dismiss at 14. The full text of Paragraph 72 is as follows:

       SNYDER then suggested abandoning the pretense of a consulting agreement with him
       altogether and instead paying a large lump sum payment to Client 2 and that he would then
       obtain the money from Client 2. SNYDER told the UMMS representatives:
                      Let me ask you a question. And I don’t know if I’m willing
               to do this. But, [Lawyer 1] maybe a solution is we – we pay one
               payment just to [Client 2’s spouse], whatever the number is, if it’s
               30 or what–
                                          ***
                      That’s – I’m not say – pay the 30 million or, you know, 31
               million to [Client 2’s spouse], as a one-time settlement. I’m not a
               consultant to the hospital. And I’ll deal with her, you know–

Indictment, Count One ¶ 72. The Defendant’s argument rests on the notion that the phrase “then

suggested,” can only mean that what Snyder suggested was the very next thing out of his mouth

after the statement quoted in paragraph 71. While that may be one way to use “then,” the Merriam

Webster dictionary defines “then” as meaning, among other things, “as a necessary consequence.”



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https://www.merriam-webster.com/dictionary/then. The use of the introductory phrase “then

suggested,” in paragraph 72 means that what Snyder said in paragraph 72 was a “necessary

consequence” of what he said in paragraph 71. It was not meant to indicate that what Snyder said

in paragraph 72 was the very next thing that Snyder said after the statement he made in paragraph

71. A comparison of the two paragraphs makes that clear. The full text of paragraph 71 is as

follows:

       Addressing his client’s wishes, SNYDER admitted he was not acting in her
       best interest. SNYDER told the UMMS representatives:
                        Well, you have to understand, this is a client that really
               doesn’t want to settle. So, when you talk about extortion, it’s not a
               – it – this is a client that doesn’t want to settle. This is a client that
               would like me to go forward. I’m the guy that has really, and – and
               truthfully, not provided undivided loyalty to her. I mean, if you want
               to call it the way it really is. If I was providing undivided loyalty to
               her I would have filed this claim a long time ago. She don’t care
               about the six million dollars, or the five, or whatever the number
               is. She doesn’t care. . .

Indictment, Count One ¶71 (emphasis added). The full text of paragraph 72 is as follows:

       SNYDER then suggested abandoning the pretense of a consulting agreement with him
       altogether and instead paying a large lump sum payment to Client 2 and that he would then
       obtain the money from Client 2. SNYDER told the UMMS representatives:
                      Let me ask you a question. And I don’t know if I’m willing
               to do this. But, [Lawyer 1] maybe a solution is we – we pay one
               payment just to [Client 2’s spouse], whatever the number is, if it’s
               30 or what–
                                          ***
                      That’s – I’m not say – pay the 30 million or, you know, 31
               million to [Client 2’s spouse], as a one-time settlement. I’m not a
               consultant to the hospital. And I’ll deal with her, you know–

Indictment, Count One ¶72 (emphasis added).            In paragraph 71, Snyder tells the UMMS

representatives that his client “don’t care” about the settlement in her case. As a consequence,

Snyder proposes, in paragraph 72, simply paying a single lump sum of $30 million to his client,

rather than paying Snyder $25 million separate and apart from his client’s claim, and that Snyder



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would then be able to get his $25 million payment from her. Id. Because the statement in

paragraph 72 was a necessary consequence of the statement in paragraph 71, it is not inaccurate.

       The next set of editorial attacks the Defendant launches are that “the prosecutors falsified

the allegations by lifting out parts of the statements of Snyder and by falsely presenting them in

the Indictment as if they were Snyder’s entire statements or by misusing ellipses to signify that

only inconsequential words were left out.” Mem. in Support of Sec. Mot. to Dismiss at 15.

        Snyder objects that in paragraph 61 “the prosecutors misused ellipses to screen out

Snyder’s next sentence,” after a portion of his statement that is quoted in Paragraph 61. Merriam-

Webster describes ellipsis this way:

       Ellipsis points are periods in groups of usually three, or sometimes four. They signal
       either that something has been omitted from quoted text, or that a speaker or writer
       has paused or trailed off in speech or thought.

https://www.merriam-webster.com/words-at-play/ellipses-definition-uses. Ellipsis were used in

paragraph 61 to indicate that sentence following the quoted material was omitted. There is nothing

improper about using ellipses in that way. What is clear from the quote in paragraph 61 is that

there is dialogue that follows the quoted statement.

       Defendant next objects to the fact that the quote in paragraph 67 ended when Lawyer 1

interrupted Snyder, but that is exactly what is reflected in the transcript. Below is a side-by-side

comparison of paragraph 67 and the transcript:

Table 2: Comparison of Paragraph 67 and the Transcript

 Indictment, Count One ¶ 67                            Transcript 51:21 to 52:16.

 [SNYDER]: Well, because there’s a different
 component to this. The – the component is that
 there are facts independent of her case, that came
 out of her case through investigation, that relate
 to the hospital generally. And you’re getting an
 agreement where I’m allegedly doing some form

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 of work for you. Uh, it’s not extortion. Because
 the – the – the – the – I’m not using any facts that
 aren’t-or, excuse me, I’m gonna talk like goofy
 Giuliani, uh – uh, make – the truth is not the truth.
 Uh, but I’m using things that I’ve developed. So,
 if – what you’re saying – these are the key things,
 the – how do we do this where it’s not perceived
 as extortion? Because I– again, I – I’m – I’m not
 gonna– you know, if you – if– if you accuse me
 of extortion, which it’s not, and I’ve fully hired a
 lawyer to – to look into that, to make sure it’s not
 that, then –




Transcript Extract at 51-52, Exhibit. 3. As Table 2 makes clear, the transcript itself cuts off at

“then –.” Thus, there is nothing inaccurate about paragraph 67.

        Snyder next objects to the quote in Paragraph 70, claiming that:

        The Indictment quotes only part of what Snyder said was “critical,” and, tellingly,
        cuts out the last two sentences of the statement, as well as the follow-up statements
        that Mr. Graham’s approval of the proposed arrangement was “critical” and that,
        “if it can’t be done,” Snyder “did not want to do it:”

Mem. in Support of Sec. Mot. to Dismiss at 16. The Defendant is incorrect. The Indictment quotes

the entire sentence where Snyder says what is “critical.” That phrase appears only in the quoted

sentence. Further, nowhere in any “follow-up statements” does the Defendant say that Mr.

Graham’s approval was critical. Below is a side-by-side comparison of paragraph 71 and the

transcript.



                                 [this space intentionally left blank]




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Table 3: Comparison of Paragraph 71 and the Transcript

 Indictment, Count One ¶71                          Transcript 62:21 to 63:17 (highlighted)

 SNYDER then repeated to the UMMS
 representatives, “The critical thing is, how do
 we implement an agreement that doesn’t let
 these things surface, that’s not extortion and
 not– and– and – and – and – and prevents
 Steve from handling the cases, that – that’s
 the key to this.”




Transcript Extract at 63, Exhibit. 3. Thus, it is not the case that paragraph 71 is a partial quote, as

the Defendant claims, nor does the Defendant ever state that Mr. Graham’s approval of the

arrangement was “critical.” Thus, paragraph 71 is not inaccurate. Furthermore, it is worth noting

that while the Defendant claims he wants an agreement that “is not extortion,” that is exactly what

he had been doing up to and including in this meeting—trying to extract a $25 million sham

consulting arrangement for himself by making threats of economic harm. And this statement

makes clear this agreement has nothing to do with his client’s case, as he had repeatedly told the

UMMS representatives.


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        Finally, the third unfounded set of criticisms that the Defendant makes of the Indictment is

that:

        prosecutors wrote paragraphs 73 and 74 to convey the false message that
        substantive discussions ended on August 23rd with Snyder’s suggestion that the
        entire $30 million sum be paid to and that, “two days later,” with nothing having
        occurred in the interim, Snyder reverted to “the phony consulting arrangement.

Mem. in Support of Sec. Mot. to Dismiss at 17. First, the Defendant does not reveal how he knows

that undersigned counsel “wrote paragraphs 73 and 74 to convey the false message that substantive

discussions ended on August 23rd.” In any event, we did not. Second, paragraphs 73 and 74

convey only what is contained within them. The full text of those paragraphs are as follows:

    73. Lawyer 1 responded, “but her – her case isn’t worth 30 million dollars,” to which SNYDER
        responded, “It doesn’t matter whether it’s worth – you get – that’s a solution, to get rid of
        everything. You don’t have to worry about Steve [SNYDER] being a consultant. . .”
    74. Two days later, in a telephone call on August 25, 2018, SNYDER repeated that he had no
        expectation that he would do any work for UMMS under the phony consulting
        arrangement. SNYDER told Lawyer 1 in a phone call:
                       And you’ll use – and you’ll use me when you want me, if at
               all. You know, when you need me, you know, you’ll call me once a
               month, or you’ll have lunch with me once and month, and you’ll –
               and you’ll get advice from me. Hopefully, nothing will ever surface,
               no cases or anything. I don’t think they will.

Indictment Count One, ¶¶73 and 74. The Defendant’s argument again evidences a

misunderstanding of the purpose of an Indictment. In his Memorandum, the Defendant cites

additional facts that occurred on August 24 and after August 25, 2021. But an indictment is not

meant to be a catalog of all the facts in a case like report and recommendation from a Magistrate

Judge or Special Master. It is meant to put the Defendant on notice of the charges he faces.




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               Whether the Defendant’s Conduct is Covered by the Litigation Exception,
               And it is Not, is a Question of Fact for the Jury.


       The Defendant’s final argument is that his conduct is covered by the “litigation

exemption.” Mem. in Support of Sec. Mot. to Dismiss at 26. Whether or not that is the case, is a

factual question that only the jury can decide.

       The Defendant attempts to contrast his case with the one against Michael Avenatti.

Avenatti was charged with attempting to extort Nike. The Indictment charged Avenatti with

conspiracy, Hobbs Act Extortion, and the interstate communication of extortionate demands, in

violation of 18 U.S.C § 875. Avenatti was convicted after trial in the Southern District to of New

York. The facts in the Avenatti case are remarkably similar to the ones alleged in the Indictment.

Below is a partial summary of these facts from the Indictment charging Avenatti:

       Specifically, AVENATTI and CC-1 threatened to hold a press conference on the
       even of Nike’s quarterly earnings call and the start of the annual National
       Collegiate Athletic Associations (“NCAA”) men’s college basketball tournament,
       at which AVENATTI would make allegations of misconduct by Nike employees,
       unless Nike agreed to make a payment of $1.5 million to a client of AVENATTI’s
       (“Client-1”) in possession of information damaging to Nike, and further agree to
       “retain” AVENATTI and CC-1 to conduct an “internal investigation” that Nike
       had not requested and for which AVENATTI and CC-1 demanded to be paid, at a
       minimum, between $15 and $25 million. Alternatively, and in lieu of such a
       retainer agreement, AVENATTI and CC-1 demanded a total payment of $22.5
       million from Nike to resolve any claims Client-1 might have and additionally to
       buy AVENATTI and CC-1’s silence.

Avenatti Indictment ¶ 1, attached as Exhibit 4.

       Nike, like UMMS, approached law enforcement after Avenatti made his demands and

recorded him in meetings and telephone calls. Nike, like UMMS, did not pay Avenatti in response

to his demands.




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       Unlike Snyder, who did not propose to do any work in exchange for the payment he

demanded, Avenatti evidently intended to actually conduct an internal investigation at Nike and

bill for the time he spent on it. The Indictment states:

       AVENATTI stated, in substance and in part, that he and CC-1 would require a $12
       million retainer to be paid immediately and to be "deemed earned when paid," with
       a minimum guarantee of $15 million in billings and a maximum of $25 million,
       "unless the scope changes." During the meeting, AVENATTI and CC-1 also stated,
       in substance and in part, that an "internal investigation" could benefit Nike, by,
       among other things, allowing Nike to "self-report" any misconduct, and that it
       would be Nike's choice whether to disclose its alleged misconduct.

Avenatti Indictment ¶ 18(a).

       After the Nike representatives indicated an uneasiness with Avenatti’s proposal to get paid

to conduct an internal investigation, Avenatti, like Snyder, offered to instead take a lump sum

payment, payable to his client.

                c.      Attorney-1 also reiterated, at the direction of law enforcement, that
       Attorney-1 did not think paying AVENATTI's client $1.5 million would be a
       "stumbling block," but asked whether there would be any way to avoid
       AVENATTI carrying out the threatened press conference without Nike retaining
       AVENATTI and CC-1. In particular, Attorney-1 asked, in substance and in part,
       whether Nike could resolve the demands just by paying Client-1, rather than
       retaining AVENATTI and CC-1. CC-1 said that he understood that Nike might
       like to get rid of the problem in "one fell swoop," rather than have it "hanging
       over their head." AVENATTI stated that he did not think it made sense for Nike
       to pay Client-1 an "exorbitant sum of money . . . in light of his [Avenatti’s] role
       in this." AVENATTI and CC-1 then left the room to confer privately.

              d.       After AVENATTI and CC-1 returned to the conference room,
       AVENATTI told Attorney-1 and Attorney-2, in part, "If [Nike] wants to have one
       confidential settlement and we're done, they can buy that for twenty-two and half
       million dollars and we're done. Full confidentiality, we ride off into the sunset. . ."

Avenatti Indictment ¶ 18(c)-(d).

       The Defendant claims that his case is distinguishable from Avenatti, because (1) “Snyder’s

demand for a consulting agreement was at his client’s request and with her knowledge;” (2)

Snyder’s demand “was in conjunction with a settlement for an amount far in excess of the

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maximum worth [sic.] the case”; and (3) Snyder’s demands were based on information Snyder

“had developed through his investigation and from experts.” Mem. in Support of Sec. Mot. to

Dismiss at 26.

       In sum, Snyder claims his demands were not extortionate because they were made in the

context of litigation and related settlement negotiations.

       Avenatti raised this very issue in a motion to dismiss the indictment in his case and it was

rejected by the district court. Specifically, Avenatti asserted that the conduct he was alleged to

have committed was not wrongful because he

       had the right to publicly expose truthful information about Nike’s misconduct. He
       had the right to demand from Nike a settlement of his client’s claims. . . . He had
       the right to demand a settlement on terms that may seem extraordinary to some. . .
       . He had the right to demand attorney’s fees for himself as part of the overall
       settlement of his client’s claims.

Mem. Denying Mot. to Dismiss at 14, attached as Exhibit 5.

       The district court rejected all of Avenatti’s arguments:

                Avenatti’s argument ignores both the factual allegations in the Indictment
       and critical language in Jackson I and Clemente. While the Jackson I court states
       that “a threat to cause economic loss [or reputational harm] is not inherently
       wrongful,” the court goes on to hold that such a threat “becomes wrongful . . . when
       it is used to obtain property to which the threatener is not entitled.” Jackson I, 180
       F.3d at 70 (emphasis added); see also Clemente, 640 F.2d at 1077 (“the use of fear
       of economic loss to obtain property to which one is not entitled is wrongful”); see
       also Chevron Corp. v. Donziger, 974 F. Supp. 2d 362, 579 (S.D.N.Y. 2014), aff'd,
       833 F.3d 74 (2d Cir. 2016) (“[t]he element of wrongfulness may be supplied by (1)
       the lack of a plausible claim of entitlement to the property demanded, or (2) the
       lack of a good faith belief of entitlement, or (3) the lack of a nexus between the
       threat and the claim of right. It may be supplied also, in this Court's view, by
       inherently wrongful conduct.”
                The core of the Indictment’s factual allegations is that Avenatti used threats
       of economic and reputational harm to demand millions of dollars from Nike, for
       himself, to which he had no plausible claim of right.

Mem. Denying Mot. to Dismiss at 16 (emphasis added).




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       The same logic applies to the Defendant. Snyder had not been harmed by the UMMS

transplant program. He, therefore, had no claim of right against the hospital. His client, M.S., did

have a claim against the hospital because her husband had died after his transplant but M.S.’s

medical malpractice claim cannot include Snyder’s sough-after consultancy. Tort damages in

Maryland are limited to the injuries caused by the “natural and probable” consequence of the

defendant’s negligence and must be monetary in nature. See Dobbins v. Washington Suburban

Sanitary Comm’n, 338 Md. 341, 349-50 (1995); Anne Arundel County v. Reeves, 252 A.3d 921,

932 (2021). Even the punitive damages that Snyder considered are monetary in nature. M.S. could

not have, however, sought to impose any compliance program at the UMMS transplant department

as part of her damages. As for Snyder’s brief attempt to funnel his $25 million demand through

M.S.’s settlement, that too would have been unlawful because that amount exceeded the amount

authorized under Maryland’s cap on damages in medical malpractice cases. See Md. Code Ann.,

Cts & Jud., 3-2A-09. Despite Snyder’s insistence, there cannot be a nexus between M.S.’s tort

claim and Snyder’s consultancy.

       Further, despite the fact that Snyder claimed at the very end of the extortionate scheme that

M.S. had authorized his demand for the sham consulting arrangement, he had previously told

UMMS representatives on multiple occasions that the $25 million payment was for him, not for

M.S. As alleged in the Indictment and summarized above, at the June 22, 2018 meeting, Snyder

said that UMMS would have to enter into an agreement with him separate from M.S.’s case.

Indictment. ¶ 39. Specifically, Snyder told the UMMS representatives that he wanted to enter into

a consulting agreement with UMMS so that Snyder would be “conflicted out” of any future case.

Id. Snyder told the UMMS representatives that they should settle the M.S. case for whatever that

case was worth and then pay Snyder $25 million to act as a consultant. Id. Kinter told Snyder that



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she thought the $25 million was the demand for the J.S. / M.S. case. Id. ¶ 40. Snyder said that M.S.

does not “deserve” that much money for her case. Id. Snyder stated that the $25 million was for

him. Id. At that same meeting, Snyder told the UMMS representatives that if they said no to his

demand for a $25 million payment separate from any payment to M.S. then he would hold a press

conference, get an article placed on the front page of The Baltimore Sun, solicit interest in national

articles, distribute commercials and launch a campaign on Google and Facebook as well as

advertise on the Internet. Id. ¶ 54. Snyder claimed there were “devastating” e-mails from the

Nephrology Department that confirmed they did not like high-risk kidneys and questioned why

UMMS was using them. Snyder told the UMMS representatives the only way to keep the e-mails

from the public would be to pay Snyder $25 million. Id. ¶ 55.

       And critically, on August 22, 2018, Snyder sent a revised demand letter to Kinter in the

J.S. case seeking $6 million. This revised demand was made the day before the August 23, 2018,

meeting where Snyder repeatedly demanded $25 million for himself.

       During the meeting that occurred on the following day, Dr. Whye questioned Snyder about

why he was asking for $25 million, and this is how responded, “Well, because there’s a different

component to this. The – the component is that there are facts independent of her case, that came

out of her case through investigation, that relate to the hospital generally. Id. ¶ 67 (emphasis

added). Later in this exchange Snyder again made it clear that the $25 million was for him and

was separate and apart from the settlement he was seeking for his client:

                So – so again, I – I don’t – I understand it’s a unique thing. But – but again,
       you don’t want to shut her up, which is not extortion, and not shut me up. You
       – you want me not to go forward. So, the question is, how do we do it and how is
       it not perceived as extortion? And how is it perceived as in compliance with the
       rules, isn’t that right? Isn’t that what we’re talking about?




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Id. ¶ 68. During that meeting, Snyder also made clear, as he had done earlier, that the $25 million

payment was to stop him from launching a negative public relations campaign against UMMS, not

to settle any litigation. During the meeting Kinter asked Snyder:

               The only reason we are where we are at, now, right, having this
       conversation, is because – and you’ll show Dr. Whye the video, is you’ve got in
       your mind damaging things, and that if you didn’t have these damaging things and
       you didn’t have the ability to make an ad and go on TV, you wouldn’t be here today
       talking to us about a consulting agreement…right?–

to which Snyder responded, “Correct.” Id. ¶ 69.

       The Defendant further argues that otherwise extortionate threats made in the context of

litigation are not wrongful. Mem. in Support of Sec. Mot. to Dismiss at 28. The Defendant cites

United States v. Pendergraft, in support of his argument. 297 F.3d 1198 (11th Cir. 2002).

Pendergraft is distinguishable, however, because, as the Eleventh Circuit noted, it involved a

governmental entity:

       Moreover, in this case, we are not dealing with a typical threat to litigate. Instead,
       we are dealing with a threat to litigate against a county government. The right of
       citizens to petition their government for the redress of grievances is fundamental to
       our constitutional structure. See U.S. Const. amend. I.7 A threat to file suit against
       a government, then, cannot be “wrongful” in itself.

Id. at 1207 (11th Cir. 2002).

       The Defendant next cites Kimberlin v. National Bloggers Club, No. GJH-13-3059, 2015

WL 1242763, at *8 (D. Md. Mar. 17, 2015) and State v. Rendelman, 404 Md. 500, 519-22 (2008)

both of which cite Pendergraft, for the proposition that meritless litigation is not extortion.

However, in this case, the Defendant did not threaten litigation. Rather, he threatened a negative

public relations campaign, including a front-page story in The Baltimore Sun, a press conference

where he would make the claim that UMMS’ transplanted diseased organs into unsuspecting

patients, an “internet bomb” attached to UMMS’s website and two television commercials, one of



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which was made to look like a public service announcement. That is a far cry from any claim of

litigation, meritless or otherwise.

       Apart from the Avenatti case, a number of courts have addressed whether the fact that a

demand is made in the context of litigation means it cannot be wrongful. They have all rejected

that argument.

       In Viacom Int'l Inc. v. Icahn, the district court explained,

               “The Supreme Court held in Enmons that a person employs ‘wrongful
       means’ not necessarily by employing means that are illegal unto themselves, but
       by exploiting one of the means identified in the statute (“actual or threatened
       force, violence, or fear”) to obtain property to which “the alleged extortionist has
       no lawful claim.” 410 U.S. at 400, 93 S.Ct. at 1010; Clemente, 640 F.2d at 1076.
       Under the Enmons framework, when the objective is wrongful (i.e., to obtain
       property to which one “has no lawful claim”), then the means (e.g., exploitation
       of fear) is also wrongful. Stated another way, both elements of extortion occur
       whenever one exploits fear to obtain property to which one has no lawful claim.

747 F. Supp. 205, 211–12 (S.D.N.Y. 1990), aff'd, 946 F.2d 998 (2d Cir. 1991) citing United

States v. Clemente, 640 F.2d 1077-78 1076 (2d Cir.1981).

       In United States v. Godwin-Painter, the defendant filed a malpractice suit against his

former attorney and threatened, during settlement negotiations, to release damaging information

unless the victim settled the suit. No. CR415-100, 2015 WL 5838501, at *1 (S.D. Ga. Oct. 6,

2015). The defendant moved to dismiss the indictment, arguing that his “actions occurred in the

context of civil litigation and could not be considered ‘wrongful.’” Id. That court rejected the

argument, concluding that the indictment was sufficient and the court could not engage in a pretrial

sufficiency-of-the-evidence analysis. Id. at *1-2. That court went on to explain that even if it could

evaluate the evidence, it would not dismiss the indictment, as the law did not permit an individual




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to make extortionate threats “but then avoid prosecution by cloaking that wrongful threat in civil

litigation.” Id. at 2.8

        In United States v. Curley, the defendant, who had interviewed for an entry-level job with

a corporation, threatened to sue the company for sexual harassment unless he was paid $130,000

(the defendant falsely alleged he had been solicited during the interview). (Curly II), No. 1:13-

CR-00058-JAW, 2015 WL 1539619 at *2 (D. Me. Apr. 6, 2015). In pretrial litigation, the district

rejected the argument that the threat of litigation could not be a basis for a § 875(d) conviction.

United States v. Curley, No. 1:13-CR-00058-JAW, 2014 WL 199948, at *6 (D. Me. Jan. 16, 2014)

(“Mr. Curley is free to argue that threats of litigation do not constitute extortion, but that legal

question cannot be reached by the Court on this 12(b)(3)(B) motion to dismiss.”). The defendant

pled guilty and was sentenced to twenty-four months’ imprisonment.

        Similar circumstances were presented in a civil extortion suit in La Suisse, Societe

D’Assurances Sur La Vie v. Kraus, No. 06 Civ. 4404 (CM) (GWG), 2014 WL 3610890 (S.D.N.Y.

July 21, 2014) (report and recommendation). There, the court considered whether the defendants

committed extortion by initiating a lawsuit on behalf of insurance policyholders as a threat to force

the victim to pay the defendants in exchange for withdrawing the suit. Id. at *4. In other words,

the defendants used threats of legitimate litigation to extract payments for themselves. Because the

defendants “could not have any claim of right to the proceeds of the . . . suit,” the demand “to

negotiate a payment directly to [themselves] in exchange for the withdrawal of all policyholder

lawsuits” was extortionate. Id. at *10.




        Charges were later dismissed against the defendant in Godwin-Painter upon motion of
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the government, after the defendant disclosed that he had a valid advice-of-counsel defense. See
Order, United States v. Godwin-Painter, No. CR415-100 (S.D. Ga. Nov. 18, 2015) (Dkt. No. 75).
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       The Defendant claims that his threats to publicly accuse UMMS of transplanting diseased

organs into unsuspecting patients cannot be deemed “wrongful” because “the threatened acts,

publicizing and advertising, are not unlawful.” Mem. in Support of Sec. Mot. to Dismiss at 32. In

support of that assertion he cites two decisions, In re Finkelstein, 901 F.2d 1560 (11th Cir. 1990)

and Sussman v. Bank of Israel, 56 F.3d 450 (2d Cir. 1995). Both of those cases involved questions

of whether lawyers should be disbarred for various threats they made in the course of litigation.

Neither one addressed charges of extortion nor held that the attorneys that were subject to

disbarment hadn’t acted in a way that was wrongful. In fact, the word “wrongful” never appears

in either decision.

       The Defendant cites a number of decisions of state and federal courts for the proposition

that there is a “value to a defendant of having a successful plaintiff’s lawyer sidelined from brining

similar cases in the future. Mem. in Support of Sec. Mot. to Dismiss at 27 citing Feldman v.

Minars, 658 N.Y.S. 2d 614, 230 A.D. 356 (1st Dep’t, 1997); Blue Cross and Blue Shield of N.J. v.

Philip Morris, Inc., 53 F. Supp. 2d 338, 342-44 (E.D.N.Y. 1999); Shebay v. Davis, 717 S.W.2d

678, 682 (Tex. App. 1986); Lee v. Florida Dept. of Ins. And Treasurer, 586 So. 2d 1185, 1189

(Fla. App. 1991); and Feiner & Lavy, P.C. v. Zohar, 2021 WL 2196723, *2 (1st Dep’t, June 1,

2021). However, in none of these cases, did the defendant threaten to cause economic harm to the

victim like Snyder did if the victim chose not to hire the defendant.

       Relatedly, the Defendant asserts that “UMMS would have received substantial value from

acceptance of Snyder’s combined proposal.” Mem. on Support of Sec. Mot. to Dismiss at 27.

This statement is of course contradicted by the fact that the Defendant never actually told UMMS

what he could do for them and instead told them “I could be the janitor,” Indictment ¶ 50. Further,

on August 27, 2018, Snyder made it clear that he didn’t really intend to do anything:



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               And you’ll use – and you’ll use me when you want me, if at all. You know,
        when you need me, you know, you’ll call me once a month, or you’ll have lunch
        with me once and month, and you’ll – and you’ll get advice from me. Hopefully,
        nothing will ever surface, no cases or anything. I don’t think they will.

Indictment ¶74. So the “value” that Snyder would confer on the hospital, in exchange for

$25 million, would be a phone call, once a month, or maybe lunch. That’s an expensive

lunch. And in any event, this argument ignore the fact that Snyder wasn’t just offering his

services to UMMS. He threatened to destroy their transplant program and the hospital’s

reputation if they didn’t take him up on his offer. In other words, he tried to make them an

offer they couldn’t refuse.

        Finally, the Defendant claims that he lacked criminal intent because he had a subjective

belief that he was entitled to make a claim, citing United States v. Sturm, 870 F.2d 769, 774 (1st

Cir. 1989). In Sturm, the First Circuit reversed the defendant’s conviction because of a defect in

the jury instructions, not because it found that the defendant had a subjective belief that the

defendant was entitled to the property he demanded. Indeed, the First Circuit held that the evidence

showed that the defendant did not have a subjective belief that he was entitled to the money he

demanded from the victim:

        Although there was sufficient evidence for the jury to conclude that Sturm knew he
        had no legal right to the $20,000 fee, we can not be certain that the jury actually
        made such a finding. The conviction on this count must be vacated because the trial
        court did not instruct the jury that in order to convict the defendant of attempted
        extortion, it would have to find that Sturm knew that he was not legally entitled to
        a fee to help WCIS recover the logbooks.

Id. at 775.

        In contrast to all of the cases that the Defendant mischaracterizes as supportive of his

arguments, the facts alleged in the Indictment are similar to the United States v. Teplin, 775 F.2d

1261 (4th Cir. 1985). In Teplin, the Fourth Circuit affirmed a conviction for traveling in interstate



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commerce with the intent to facilitate extortion, in violation of the Travel Act (18 U.S.C. §

1952(a)(3)) and for attempted Virginia’s extortion statute as assimilated by federal law (in

violation of 18 U.S.C. § 13, assimilating Va. Code §§ 18.2–26 and 18.2–59).

       In Teplin, the defendant had been an attorney for a prominent businessman, through which

he had been tasked with a revocation agreement that nullified a prenuptial agreement between the

client and his wife. 775 F.2d at 1262. After the client’s death, the wife used the revocation to

claim part of the deceased’s estate. During the probate process, the defendant contact the wife and

“threatened to tell others involved in the probate proceedings that the revocation agreement was

fraudulent unless Mrs. Eaton agreed to pay him money” in the amount of $100,000. Id.

       On appeal, Teplin argued that the district court had improperly ruled that “claim of right”

is not a defense to extortion under Virginia law, and that he had a legitimate claim of right to the

money. Id. at 1263. While affirming the lower court’s interpretation of Virginia law, the Fourth

Circuit also concluded the legal issue was moot: “[W]e fail to see what claim of right the defendant

had to the money which he demanded from Mrs. Eaton. He was clearly demanding ‘hush money’

to remain silent about the alleged invalidity of the revocation agreement.” Id. at 1263–64.

       The same logic applies to Snyder. He didn’t have a claim against UMMS because he hadn’t

been harmed by UMMS. He was demanding hush money just like the defendant in Teplin.

       V.      THE COURT SHOULD DENY THE DEFENDANT’S MOTION TO
               COMPEL THE PRODUCTION OF BRADY MATERIAL

       Snyder’s Motion to Compel Brady material seeks, essentially, two categories of

information: (1) four requests are for communications between government agents and

representatives of UMMS that occurred in advance of the recorded meetings and calls with Snyder

and Graham; and (2) the fifth request is for documents related to the government’s investigation

into Snyder.


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       Snyder’s Motion to Compel is based on false allegations of misconduct. Snyder writes,

“The requested information concerns the misconduct by government agents that form the basis for

Snyder’s First Motion to Dismiss the Indictment.” Memo, Motion to Compel at 1. As explained

previously, the government did not engage in any misconduct; the government had no obligation

to record a second meeting with Graham, and there is no reason to believe that the second meeting

would have been exculpatory.

       The individual requests are also based on dubious, if not impossible assumptions. As to

his first two requests, which seeks documents related to the decision to cancel a second meeting

with Graham, Snyder contends the government cancelled the meeting because Snyder was willing

to “abandon[] his proposal” if Graham did not think the consultancy was lawful. Memo, Motion

to Compel at 4. This assertion is based on the legal impossibility that Graham could have wiped

away the extortion that had already occurred. And Snyder’s assertion that cancelling the meeting

deprived him of his due process rights is contrary to established Fourth Circuit precedent. See

Werth v. United States, 493 Fed. Appx. 361, 366 (4th Cir. 2012).

       As to his third request, Snyder vaguely asserts that he “has reason to seek other favorable

information about the government’s role,” and that Magdeburger’s August 27, 2018, call with

Graham was “peculiar.” Memo, Mot. to Compel at 6. Aside from these conspiratorial assertions,

which are difficult to understand, Snyder has not offered any credible basis for the potential

existence of Brady material.

       As to his fourth request, Snyder claims that the government planned the August 30, 2018

call to “destroy the nexus” between M.S.’s claim and Snyder’s proposed consultancy. Id. at 7.

But the lack of any nexus was never in dispute. Reading from the transcript that Snyder attached

to his Second Motion to Dismiss, Snyder admitted during the August 23, 2018 meeting, “they’re



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probably not supposed to be lumped together. They are two separate distinct things.” Second

Mot. to Dismiss, Ex. 3 at 42. Snyder’s willingness to make arguments that are contradicted by his

own statements and his own exhibits shows that there is no reason to believe that any contact

between government agents and UMMS representatives is exculpatory.

       As to Snyder’s last request, for “statements documenting or explaining the closure of the

investigation of Snyder in 2018,”




federal courts have found that a prosecutor’s opinion is not Brady. See Morris v. Ylst, 447 F.3d

735, 742-43 (9th Cir. 2006) (“The Gumz status report is best characterized as a statement of the

prosecutor’s opinion . . . . So understood, it is not Brady material.”); United States v. Whyte, 2018

WL 847784, *2 (W.D. Va. Feb. 13, 2018) (“Defendant believes Brady required the government to

turn over the prosecutor’s opinions. It does not.”) Federal courts have observed that requiring

disclosure of a prosecutor’s opinion would “displace” the adversary system, “greatly impair the

government’s ability to prepare for trials,” and would encourage “inefficiency, unfairness and



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sharp practices . . . in the preparation of cases for trial.” Morris, 447 F.3d at 742-43 (citations and

quotations omitted); Williamson v. Moore, 221 F.3d 1177, 1182 (11th Cir. 2000) (citations and

quotations omitted). As the saying goes, reasonable minds can differ, and prosecutors should be

free to discuss their views or opinions about cases without fear that a defendant might, one day, be

able to take a poll of the U.S. Attorney’s Office to see if any prosecutors disagreed with another

prosecutor. To do so would lead to the consequences that federal courts have warned against.

       VI.     STATEMENT AS TO DEFENDANT’S FILING, ECF NO. 53

       Snyder has requested that the Court expedite its resolution of this Motion and promptly

schedule a hearing. As explained throughout this Motion, Defendant has not cited any basis to

dismiss the Indictment, no hearing is necessary, and the Court should resolve these Motions in the

ordinary course, without a hearing.


       VII.    REQUEST TO EXCEED PAGE LIMITATIONS

       The Government chose to respond to four filings in a single response, which required the

Government to exceed the 35-page limit in Local Rule 105.3.               The Government requests

permission to exceed the page limit rather than separate this single filing into four separate filings.


       VIII. CONCLUSION

       WHEREFORE, the United States respectfully requests that the Court deny Snyder’s two

Motions to Dismiss and his Motion to Compel.

                                                       Respectfully submitted,

                                                       Jonathan F. Lenzner
                                                       Acting United States Attorney

                                                       ___/s/_________________
                                                       Leo J. Wise
                                                       Matthew P. Phelps
                                                       Assistant United States Attorneys

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                             CERTIFICATE OF SERVICE

I hereby certify that this filing was served on defense counsel via ECF electronic filing.


                                              ___/s/__________________
                                              Matthew P. Phelps
                                              Assistant United States Attorney




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